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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

 JONATHAN JOHNSON, derivatively on behalf of )             Case No.
 EVOLV TECHNOLOGIES HOLDINGS, INC.,          )
                                             )
                     Plaintiffs,             )
       v.                                    )
                                             )             JURY TRIAL DEMANDED
 MICHAEL ELLENBOGEN, RAJAN NAIK, )
 KEVIN CHARLTON, KIMBERLY SHEEHY, )
 BILAL ZUBERI, NEIL GLAT, DAVID MOUNTS )
 GONZALES, MERLINE SAINTIL, MARK )
 SULLIVAN, PETER GEORGE, and MARK )
 DONOHUE,                                    )
                                             )
                     Defendants,             )
                                             )
       -and-                                 )
                                             )
 EVOLV TECHNOLOGIES HOLDINGS, INC., a )
 Delaware Corporation,                       )
                                             )
                     Nominal Defendant.      )
                                             )
                                             )
                                             )

          Plaintiff Jonathan Johnson (“Plaintiff”), derivatively on behalf of Evolv Technologies

Holdings, Inc. (“Evolv” or the “Company”), brings the following complaint against the Company’s

board of directors (the “Board”) and executive officers for breaches of fiduciary duties and

violation of Section 14(a) of the Securities Exchange Act of 1934. Except for allegations

specifically pertaining to Plaintiff and Plaintiff’s own acts, the allegations in the Complaint are

based upon information and belief, which include but are not limited to: (i) the Company’s public

filings with the United States Securities and Exchange Commission (the “SEC”); (ii) pleadings

filed in Raby v. Evolv Technologies Holdings, Inc. f/k/a NewHold Investment Corp., et al. Case

No. 1:24-cv-10761-ADB (D.Mass.) and Buchan v. Evolv Technologies Holdings, Inc., et al., Case




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No. 1:24-cv-12768 (D. Mass.); (iii) corporate governance documents available on the Company’s

website; and (iv) other publicly available information.

                                 NATURE OF THE ACTION

       1.      This is a stockholder derivative action brought by Plaintiff, a stockholder of Evolv,

on behalf of the Company against the Defendants. This action alleges breaches of fiduciary duty

by the Board and senior executive officers occurring from at least August 18, 2022, to October 25,

2024. During that time the Defendants (as defined herein) caused or allowed Evolv to issue or

make materially false and misleading statements concerning the Company’s financial condition

and business operations.

       2.      Evolv allows places like schools, stadiums, and places of worship to scan people

entering for weapons and firearms using AI software and sensors. The Company offers

subscriptions that provide products for a multi-year term, and customers can purchase the products

outright through a distributor, Columbia Electrical Contractors, Inc.

       3.      From August 18, 2022, through October 25, 2024, the Company filed Forms 10-Q

and 10-K with the SEC that disclosed revenue that was not properly recognized. Specifically, sales

of products and subscriptions contained extra-contractual terms and conditions that impacted

revenue recognition, making revenue disclosed in the financial statements filed between August

2022 and October 2024 prematurely or incorrectly recognized. The extra-contractual terms and

conditions were not provided to the Audit Committee, the Company’s external auditor, or internal

accounting employees.

       4.      One week after the Company disclosed that its previous financial statements were

false or misleading and should not be relied upon, the Board fired the Chief Executive Officer

(“CEO”), Peter George. The Company’s Chief Financial Officer (“CFO”), Mark Donohue,




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resigned a few weeks later. Four other employees were fired or resigned in connection with the

misconduct.

       5.      Through this action, Plaintiffs seek to hold the Board and executive officers

accountable for making or causing the Company to make false and misleading statements in breach

of their fiduciary duties to the Company.

                                             PARTIES

       A.      Plaintiff

       6.      Plaintiff Jonathan Johnson is a current shareholder of Evolv and has continuously

held Evolv stock during all times relevant hereto and is committed to retaining Evolv shares

through the pendency of this action to preserve his standing. Plaintiff will adequately and fairly

represent the interests of Evolv and its shareholders in enforcing its rights.

       B.      Nominal Defendant

       7.      Nominal Defendant Evolv is a corporation organized and existing under the laws

of the State of Delaware. The Company’s principal executive offices are located at 500 Totten

Pind Road, 4th Floor, Waltham, Massachusetts 02451. Evolv common stock trades on the Nasdaq

Stock Market under the ticker symbol “EVLV.”

       C.      Individual Defendants

       8.      Defendant Michael Ellenbogen has been a director of the Company since 2021 and

is currently serving as Interim President and CEO. Defendant Ellenbogen is the Co-Founder of

Evolv and serves as the Chief Innovation Officer. Previously, Defendant Ellenbogen served as

Evolv’s CEO.

       9.      Defendant Rajan Naik has been a director of the Company since 2023.




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       10.     Defendant Kevin Charlton has been a director of the Company since 2021.

Defendant Charlton served as CEO of NewHold Investment Company (“NewHold”), the special

purpose acquisition corporation that merged with Evolv in 2021.

       11.     Defendant Kimberly Sheehy has been a director of the Company since 2021.

Defendant Sheehy has served on the Audit Committee during the relevant time period.

       12.     Defendant Bilal Zuberi has been a director of the Company since 2021.

       13.     Defendant Neil Glat has been a director of the Company since 2021.

       14.     Defendant David Mounts Gonzales has been a director of the Company since 2023.

Defendant Mounts Gonzales has served on the Audit Committee during the relevant time period.

       15.     Defendant Merline Saintil has been a director of the Company since 2021.

Defendant Saintil has served on the Audit Committee during the relevant time period.

       16.     Defendant Mark Sullivan has been a director of the Company since 2021.

       17.     Defendants Ellenbogen, Naik, Charlton, Sheehy, Zuberi, Glat, Mounts Gonzales,

Saintil, and Sullivan are herein referred to as “Director Defendants.”

       18.     Defendant Peter George served as CEO, President, and a director of the Company

from 2021 to October 31, 2024.

       19.     Defendant Mark Donohue served as Chief Financial Officer (“CFO”) of the

Company from 2022 until November 21, 2024.

       20.     Defendants George and Donohue are herein referred to as “Officer Defendants.”

                                 JURISDICTION AND VENUE

       21.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because

Plaintiff’s claims raise a federal question under Section 14(a) of the Securities Exchange Act of

1934, 15 U.S.C. § 78n(a)(1), and Rule 14a-9 promulgated thereunder, 17 C.F.R. § 240.14a-9.




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        22.     This Court has supplemental jurisdiction over Plaintiff’s state law claims pursuant

to 28 U.S.C. § 1367(a).

        23.     Personal jurisdiction exists over each Defendant either because the Defendant

conducts business in or maintains operations in this District or is an individual who is either present

in this District for jurisdictional purposes or has sufficient minimum contacts with this District as

to render the exercise of jurisdiction over Defendant by this Court permissible under traditional

notions of fair play and substantial justice.

        24.     Venue is proper in this court under 28 U.S.C. § 1391, because Evolv is

headquartered in this District, and a significant amount of the conduct at issue took place and had

an effect in this District.

                          FURTHER SUBSTANTIVE ALLEGATIONS

        A.      Company Background and False and Misleading Statements

        25.     Evolv provides AI-powered solutions to screen for and detect firearms and weapons

on persons entering schools, hospitals, arenas, stadiums, and other venues.

        26.     From at least August 18, 2022, through October 25, 2024, Evolv and its executive

officers made materially false and misleading statements about the Company’s revenue

recognition accounting.

        27.     On August 18, 2022, the Company released its financial results for the second

quarter of 2022. The Form 10-Q filed with the SEC that day included the amounts of revenue for

the quarter and the first six months of the year:

        CONDENSED CONSOLIDATED STATEMENTS OF OPERATIONS AND
                           COMPREHENSIVE LOSS
                (In thousands, except share and per share amounts)
                                   (Unaudited)




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                                        Three Months Ended Six Months Ended
                                              June 30,          June 30,
                                                2022       2021         2022     2021
Revenue:
  Product revenue                       $        4,146 $     2,617 $     9,340 $ 4,884
  Subscription revenue                           4,006       1,521       7,010    2,748
  Service revenue                                  918        540        1,430     739
      Total revenue                              9,070       4,678      17,780    8,371


28.      The Form 10-Q also stated the following:

In addition to selling our products directly to customers, we also derive revenue
from leasing our equipment, which we classify as subscription revenue. Lease terms
are typically four years, generally do not include unilateral options by either the
Company or our customer to extend, terminate or to purchase the underlying asset,
and customers generally pay either a quarterly or annual fixed payment for the lease
and maintenance elements over the contractual lease term. Equipment leases are
generally classified as operating leases as they do not meet any of the sales-type
lease criteria per ASC 842 and recognized ratably over the duration of the lease.
There are no variable lease payments as a part of these arrangements.

The accounting provisions we use to classify transactions as sales-type are: (i)
whether the lease transfers ownership of the equipment by the end of the lease term,
(ii) whether the lease grants the customer an option to purchase the equipment and
the customer is reasonably certain to do so, (iii) whether the lease term is for the
major part of the economic life of the underlying equipment, (iv) whether the
present value of the lease payments, and any residual value guaranteed by the
customer that is not already reflected in the lease payments, is equal to or greater
than substantially all of the fair market value of the equipment at the
commencement of the lease, and (v) whether the equipment is specific to the
customer and of such a specialized nature that it is expected to have no alternative
use to the Company at the end of the lease term. Leasing arrangements meeting any
of these conditions are accounted for as sales-type leases and revenue attributable
to the lease component is recognized in a manner consistent with product revenue
and the related equipment is derecognized with the associated expense presented as
a cost of revenue. Leasing arrangements that do not meet the criteria for
classification as a sales-type lease will be accounted for as a direct-financing lease
if the following two conditions are met: (i) the present value of the lease payments,
and any residual value guaranteed by the customer that is not already reflected in
the lease payments and any other third party unrelated to the Company, is equal to
or greater than substantially all of the fair market value of the equipment at the



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commencement of the lease, and (ii) it is probable that the Company will collect
the lease payments and amounts necessary to satisfy a residual value guarantee.
Leasing arrangements that do not meet any of the sales-type lease or direct-
financing lease classification criteria are accounted for as operating leases and
revenue is recognized straight-line over the term of the lease.

                                  *       *       *

5. Revenue Recognition

The Company recognizes revenue in accordance with Accounting Standards
Codification 606 – Revenue from Contracts with Customers (“ASC 606”). Under
ASC 606, revenue is recognized when a customer obtains control of promised
goods or services, in an amount that reflects the consideration which the entity
expects to receive in exchange for those goods or services. In order to achieve this
core principle, the Company applies the following five steps when recording
revenue: (1) identify the contract, or contracts, with the customer, (2) identify the
performance obligations in the contract, (3) determine the transaction price, (4)
allocate the transaction price to the performance obligations in the contract and (5)
recognize revenue when, or as, performance obligations are satisfied.

The Company derives revenue from (1) subscription arrangements generally
accounted for as operating leases under ASC 842 and (2) from the sale of products,
inclusive of SaaS and maintenance and (3) professional services. The Company’s
arrangements are generally noncancelable and nonrefundable after ownership
passes to the customer for product sales and upon installation for subscriptions.
Revenue is recognized net of sales tax.

                                  *       *       *

Revenue generated by the sale of products represented 46% and 56% of our total
revenue for the three months ended June 30, 2022 and 2021, respectively. The
remaining revenue was generated from subscription sales and services for our
products. Going forward, we expect our products to be adopted in a variety of
vertical industry markets and geographic regions. Subscription revenue was $4.0
million and $1.5 million for the three months ended June 30, 2022 and 2021,
respectively. With the further recent development, enhancement, and maintenance
of Evolv Insights and its analytical platform, as well as our plan to lead increasingly
with our subscription offering, we expect subscription revenue as a percentage of
total revenue to increase in future periods.

                                  *       *       *

Revenue




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We derive revenue from (1) subscription arrangements generally accounted for as
operating leases, (2) from the sale of products, inclusive of SaaS and maintenance,
and (3) professional services. Our arrangements are generally noncancelable and
nonrefundable after ownership passes to the customer for product sales and upon
installation for subscriptions. Revenue is recognized net of sales tax.

Product Revenue

We derive a portion of our revenue from the sale of our Express and Edge
equipment and related add-on accessories to customers. Revenue is recognized
when control of the product has transferred to the customer, which follows the
terms of each contract. We expect product revenue to decline as a percentage of our
overall revenue overtime as more and more customers enter full subscription
transactions with us and as our subscription becomes more valuable to our business.

Subscription Revenue

In addition to selling our products directly to customers, we also lease our Express
and Edge equipment which we classify as subscription revenue. Lease terms are
typically four years and customers generally pay either a quarterly or annual fixed
payment for the lease and maintenance elements over the contractual lease term.
Equipment leases are generally classified as operating leases as they do not meet
any of the sales-type lease criteria per ASC 842 and recognized ratably over the
duration of the lease. There are no contingent lease payments as a part of these
arrangements.

Generally, lease arrangements include both lease and non-lease components. The
non-lease components relate to (1) distinct services, such as SaaS, maintenance,
installation and training, and (2) any add-on accessories. Installation and training
are included in service revenue as described below, and add-on accessories are
included in product revenue as described above. Because the equipment, SaaS, and
maintenance components of a subscription arrangement are recognized as revenue
over the same time period and in the same pattern, the equipment lease and
SaaS/maintenance performance obligations are classified as a single category of
subscription revenue in our condensed consolidated statements of operations and
comprehensive loss.

Services Revenue

We provide SaaS, maintenance, installation and training services for our products.
Revenue for installation and training are recognized upon transfer of control of
these services, which are normally rendered over a short duration. Maintenance
consists of technical support, bug fixes and when-and-if available threat updates.
SaaS and maintenance revenue is recognized ratably over the period of the
arrangement.




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       29.      On November 9, 2022, the Company released its financial results for the third

quarter of 2022. The Form 10-Q filed with the SEC that day included the amounts of revenue for

the quarter and first nine months of the year:

                  EVOLV TECHNOLOGIES HOLDINGS, INC.
        CONDENSED CONSOLIDATED STATEMENTS OF OPERATIONS AND
                           COMPREHENSIVE LOSS
                (In thousands, except share and per share amounts)
                                   (Unaudited)
                                                               Nine Months
                                        Three Months Ended        Ended
                                           September 30,      September 30,
                                                         2022       2021         2022     2021
       Revenue:
         Product revenue                         $        9,839 $     5,395 $ 19,179 $ 10,279
         Subscription revenue                             5,198       2,312      12,208    5,060
         Service revenue                                  1,493        717        2,923    1,456
             Total revenue                               16,530       8,424      34,310   16,795



       30.      The Form 10-Q also stated the following:

       Subscription Revenue - Leases as Lessor

       In addition to selling our products directly to customers, we also derive revenue
       from leasing our equipment, which we classify as subscription revenue. Lease terms
       are typically four years, generally do not include unilateral options by either the
       Company or our customer to extend, terminate or to purchase the underlying asset,
       and customers generally pay either a quarterly or annual fixed payment for the lease
       and maintenance elements over the contractual lease term. Equipment leases are
       generally classified as operating leases as they do not meet any of the sales-type
       lease criteria per ASC 842 and recognized ratably over the duration of the lease.
       There are no variable lease payments as a part of these arrangements.

       The accounting provisions we use to classify transactions as sales-type are: (i)
       whether the lease transfers ownership of the equipment by the end of the lease term,
       (ii) whether the lease grants the customer an option to purchase the equipment and
       the customer is reasonably certain to do so, (iii) whether the lease term is for the
       major part of the economic life of the underlying equipment, (iv) whether the
       present value of the lease payments, and any residual value guaranteed by the



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customer that is not already reflected in the lease payments, is equal to or greater
than substantially all of the fair market value of the equipment at the
commencement of the lease, and (v) whether the equipment is specific to the
customer and of such a specialized nature that it is expected to have no alternative
use to the Company at the end of the lease term. Leasing arrangements meeting any
of these conditions are accounted for as sales-type leases and revenue attributable
to the lease component is recognized in a manner consistent with product revenue
and the related equipment is derecognized with the associated expense presented as
a cost of revenue. Leasing arrangements that do not meet the criteria for
classification as a sales-type lease will be accounted for as a direct-financing lease
if the following two conditions are met: (i) the present value of the lease payments,
and any residual value guaranteed by the customer that is not already reflected in
the lease payments and any other third party unrelated to the Company, is equal to
or greater than substantially all of the fair market value of the equipment at the
commencement of the lease, and (ii) it is probable that the Company will collect
the lease payments and amounts necessary to satisfy a residual value guarantee.
Leasing arrangements that do not meet any of the sales-type lease or direct-
financing lease classification criteria are accounted for as operating leases and
revenue is recognized straight-line over the term of the lease.

                                  *       *       *

Revenue Recognition

The Company recognizes revenue in accordance with Accounting Standards
Codification 606 – Revenue from Contracts with Customers (“ASC 606”). Under
ASC 606, revenue is recognized when a customer obtains control of promised
goods or services, in an amount that reflects the consideration which the entity
expects to receive in exchange for those goods or services. In order to achieve this
core principle, the Company applies the following five steps when recording
revenue: (1) identify the contract, or contracts, with the customer, (2) identify the
performance obligations in the contract, (3) determine the transaction price, (4)
allocate the transaction price to the performance obligations in the contract and (5)
recognize revenue when, or as, performance obligations are satisfied.

The Company derives revenue from (1) subscription arrangements generally
accounted for as operating leases under ASC 842 and (2) from the sale of products,
inclusive of SaaS and maintenance and (3) professional services. The Company’s
arrangements are generally noncancelable and nonrefundable after ownership
passes to the customer for product sales and upon installation for subscriptions.
Revenue is recognized net of sales tax.

                                  *       *       *

Revenue




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We derive revenue from (1) subscription arrangements generally accounted for as
operating leases, (2) from the sale of products, inclusive of SaaS and maintenance,
and (3) professional services. Our arrangements are generally noncancelable and
nonrefundable after ownership passes to the customer for product sales and upon
installation for subscriptions. Revenue is recognized net of sales tax.

Product Revenue

We derive a portion of our revenue from the sale of our Express equipment (and
prior to 2022, our Edge equipment) and related add-on accessories to customers.
Revenue is recognized when control of the product has transferred to the customer,
which follows the terms of each contract. We expect product revenue to decline as
a percentage of our overall revenue overtime as more and more customers enter full
subscription transactions with us and as our subscription becomes more valuable to
our business.

Subscription Revenue

Subscription revenue is comprised of revenue derived from leasing Express and
Edge units to our customers. Lease terms are typically four years and customers
generally pay either a quarterly or annual fixed payment for the lease and
maintenance elements over the contractual lease term. Equipment leases are
generally classified as operating leases as they do not meet any of the sales-type
lease criteria per ASC 842 and recognized ratably over the duration of the lease.
There are no contingent lease payments as a part of these arrangements.

Generally, lease arrangements include both lease and non-lease components. The
non-lease components relate to (1) distinct services, such as SaaS, maintenance,
installation and training, and (2) any add-on accessories. Installation and training
are included in service revenue as described below, and add-on accessories are
included in product revenue as described above. Because the equipment, SaaS, and
maintenance components of a subscription arrangement are recognized as revenue
over the same time period and in the same pattern, the equipment lease and
SaaS/maintenance performance obligations are classified as a single category of
subscription revenue in our condensed consolidated statements of operations and
comprehensive loss.

Services Revenue

We provide SaaS, maintenance, installation and training services for our products.
Revenue for installation and training are recognized upon transfer of control of
these services, which are normally rendered over a short duration. Maintenance
consists of technical support, bug fixes and when-and-if available threat updates.
SaaS and maintenance revenue is recognized ratably over the period of the
arrangement.




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       31.    On March 24, 2023, the Company released its financial results for the fourth quarter

and year 2022. The Form 10-K filed with the SEC that day stated:

       Revenue

       We derive revenue from (1) subscription arrangements generally accounted for as
       operating leases, (2) from the sale of products, inclusive of SaaS and maintenance,
       and (3) professional services. Our arrangements are generally noncancelable and
       nonrefundable after ownership passes to the customer for product sales and upon
       installation for subscriptions. Revenue is recognized net of sales tax.

       Product Revenue

       We derive a portion of our revenue from the sale of our Express equipment (and
       prior to 2022, our Edge equipment) and related add-on accessories to customers.
       Revenue is recognized when control of the product has transferred to the customer,
       which follows the terms of each contract. We expect product revenue to decline as
       a percentage of our overall revenue overtime as more and more customers enter full
       subscription transactions with us and as our subscription becomes more valuable to
       our business.

       Subscription Revenue

       Subscription revenue is comprised of revenue derived from leasing Express and
       Edge units to our customers. Lease terms are typically four years and customers
       generally pay either a quarterly or annual fixed payment for the lease and
       maintenance elements over the contractual lease term. Equipment leases are
       generally classified as operating leases as they do not meet any of the sales-type
       lease criteria per ASC 842 and recognized ratably over the duration of the lease.
       There are no contingent lease payments as a part of these arrangements.

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       are included in service revenue as described below, and add-on accessories are
       included in product revenue as described above. Because the equipment, SaaS, and
       maintenance components of a subscription arrangement are recognized as revenue
       over the same time period and in the same pattern, the equipment lease and
       SaaS/maintenance performance obligations are classified as a single category of
       subscription revenue in our condensed consolidated statements of operations and
       comprehensive loss.

       Services Revenue




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      We provide SaaS, maintenance, installation and training services for our products.
      Revenue for installation and training are recognized upon transfer of control of
      these services, which are normally rendered over a short duration. Maintenance
      consists of technical support, bug fixes and when-and-if available threat updates.
      SaaS and maintenance revenue is recognized ratably over the period of the
      arrangement.

                                        *       *       *

      The following table summarizes our results of operations for the years ended
      December 31, 2022 and 2021 (in thousands):
                                       Year Ended December
                                       31,
                                       2022         2021        $ Change % Change
Revenue:
 Product revenue                       $31,985      $13,631     $18,354      135   %
 Subscription revenue                  17,569       7,803       9,766        125
 Service revenue                       5,641        1,959       3,682        188
   Total revenue                       55,195       23,393      31,802       136

                                        *       *       *

      Critical Accounting Policies and Estimates

      Our consolidated financial statements are prepared in accordance with generally
      accepted accounting principles in the United States. The preparation of our
      consolidated financial statements and related disclosures requires us to make
      estimates and judgments that affect the reported amounts of assets, liabilities, costs
      and expenses, and the disclosure of contingent assets and liabilities in our
      consolidated financial statements. We base our estimates on historical experience,
      known trends and events and various other factors that we believe are reasonable
      under the circumstances, the results of which form the basis for making judgments
      about the carrying values of assets and liabilities that are not readily apparent from
      other sources. We evaluate our estimates and assumptions on an ongoing basis. Our
      actual results may differ from these estimates under different assumptions or
      conditions.

      While our significant accounting policies are described in more detail in Note 2 to
      our consolidated financial statements, we believe that the following accounting
      policies are those most critical to the judgments and estimates used in the
      preparation of our consolidated financial statements.

      Revenue Recognition




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We derive revenue from (1) subscription arrangements accounted for as operating
leases, (2) from the sale of products, inclusive of SaaS and maintenance, and (3)
professional services. Our arrangements are generally noncancelable and
nonrefundable after ownership passes to the customer. Revenue is recognized net
of sales tax.

Product Revenue

We derive a portion of our revenue from the sale of our Express equipment (and
prior to 2022, our Edge equipment) and related add-on accessories to customers.
Revenue is recognized when control of the product has transferred to the customer,
which follows the terms of each contract. We expect product revenue to decline as
a percentage of our overall revenue over time as more customers enter full
subscription transactions with us and as our subscription becomes more valuable to
our business.

Subscription Revenue

Subscription revenue is comprised of revenue derived from leasing Express and
Edge units to our customers. Lease terms are typically four years and customers
generally pay either a quarterly or annual fixed payment for the lease and
maintenance elements over the contractual lease term. Equipment leases are
generally classified as operating leases as they do not meet any of the sales-type
lease criteria per ASC 842 and recognized ratably over the duration of the lease.
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Generally, lease arrangements include both lease and non-lease components. The
non-lease components relate to (1) distinct services, such as SaaS, maintenance,
installation and training, and (2) any add-on accessories. Installation and training
are included in service revenue as described below, and add-on accessories are
included in product revenue as described above. Because the equipment lease,
SaaS, and maintenance components of a subscription arrangement are recognized
as revenue over the same time period and in the same pattern, the equipment lease
and SaaS/maintenance performance obligations are classified as a single category
of subscription revenue in our consolidated statements of operations and
comprehensive loss.

Services Revenue

We provide SaaS, maintenance, installation and training services for our products.
Revenue for installation and training are recognized upon transfer of control of
these services, which are normally rendered over a short duration. Maintenance
consists of technical support, bug fixes and when-and-if available threat updates.
SaaS and maintenance revenue is recognized ratably over the period of the
arrangement.




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Revenue from Channel Partners

A portion of our revenue is generated by sales in conjunction with our channel
partners. When we transact with a channel partner, our contractual arrangement is
with the channel partner and not with the end-use customer. Whether we transact
with a channel partner and receive the order from a channel partner or directly from
an end-use customer, our revenue recognition policy and resulting pattern of
revenue recognition is the same.

Standalone Selling Price

We allocate the transaction price to each distinct performance obligation based on
the standalone selling price (“SSP”) of each product or service. Our contracts may
include multiple performance obligations when customers purchase a combination
of products and services. When our customer arrangements have multiple
performance obligations that contain a lease as well as distinct services that are
delivered simultaneously, we allocate the arrangement consideration between the
lease deliverables and non-lease deliverables based on the relative estimated SSP
of each distinct performance obligation. For multiple performance obligation
arrangements that do not contain a lease, we allocate the contract’s transaction price
to each performance obligation on a relative SSP basis.

                                  *       *       *
Revenue Recognition

The Company recognizes revenue in accordance with Accounting Standards
Codification 606 – Revenue from Contracts with Customers (“ASC 606”). Under
ASC 606, revenue is recognized when a customer obtains control of promised
goods or services, in an amount that reflects the consideration which the entity
expects to receive in exchange for those goods or services. In order to achieve this
core principle, the Company applies the following five steps when recording
revenue: (1) identify the contract, or contracts, with the customer, (2) identify the
performance obligations in the contract, (3) determine the transaction price, (4)
allocate the transaction price to the performance obligations in the contract and (5)
recognize revenue when, or as, performance obligations are satisfied.

The Company derives revenue from (1) subscription arrangements accounted for
as operating leases under ASC 842 (and ASC 840, Leases ("ASC 840") prior to the
adoption of ASC 842) and (2) from the sale of products, inclusive of SaaS and
maintenance and (3) professional services. The Company’s arrangements are
generally noncancelable and nonrefundable after ownership passes to the customer.
Revenue is recognized net of sales tax.

Product Revenue




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The Company derives revenue from the sale of its Express equipment and related
add-on accessories to customers. Revenue is recognized when control of the
product has transferred to the customer. Transfer of control occurs when the
Company has transferred title and risk of loss and has a present right to payment
for the equipment, which follows the terms of each customer contract. Products are
predominately sold with distinct services, which are described in the services
section below.

Subscription Revenue - Leases as Lessor

In addition to selling our products directly to customers, we also derive revenue
from leasing our equipment, which we classify as subscription revenue. Lease terms
are typically four years, generally do not include unilateral options by either the
Company or our customer to extend, terminate or to purchase the underlying asset,
and customers generally pay either a quarterly or annual fixed payment for the
lease, SaaS, and maintenance elements over the contractual lease term. Equipment
leases are generally classified as operating leases as they do not meet any of the
sales-type lease criteria per ASC 842 and recognized ratably over the duration of
the lease. There are no variable lease payments as a part of these arrangements.

The accounting provisions we use to classify transactions as sales-type are: (i)
whether the lease transfers ownership of the equipment by the end of the lease term,
(ii) whether the lease grants the customer an option to purchase the equipment and
the customer is reasonably certain to do so, (iii) whether the lease term is for the
major part of the economic life of the underlying equipment, (iv) whether the
present value of the lease payments, and any residual value guaranteed by the
customer that is not already reflected in the lease payments, is equal to or greater
than substantially all of the fair market value of the equipment at the
commencement of the lease, and (v) whether the equipment is specific to the
customer and of such a specialized nature that it is expected to have no alternative
use to the Company at the end of the lease term. Leasing arrangements meeting any
of these conditions are accounted for as sales-type leases and revenue attributable
to the lease component is recognized in a manner consistent with product revenue
and the related equipment is derecognized with the associated expense presented as
a cost of revenue. Leasing arrangements that do not meet the criteria for
classification as a sales-type lease will be accounted for as a direct-financing lease
if the following two conditions are met: (i) the present value of the lease payments,
and any residual value guaranteed by the customer that is not already reflected in
the lease payments and any other third party unrelated to the Company, is equal to
or greater than substantially all of the fair market value of the equipment at the
commencement of the lease, and (ii) it is probable that the Company will collect
the lease payments and amounts necessary to satisfy a residual value guarantee.
Leasing arrangements that do not meet any of the sales-type lease or direct-
financing lease classification criteria are accounted for as operating leases and
revenue is recognized straight-line over the term of the lease.




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The Company considers the economic life of most of our products to be seven
years. The Company believes seven years is representative of the period during
which the equipment is expected to be economically usable by one or more users,
with normal service, for the purpose for which it is intended. The unguaranteed
residual value is estimated to be the value at the end of the lease term based on the
anticipated fair market value of the units. The Company mitigates residual value
risk of our leased equipment by performing regular management and maintenance,
as necessary.

Generally, lease arrangements include both lease and non-lease components. The
lease component relates to the customer’s right-to-use the equipment over the lease
term. The non-lease components relate to (1) distinct services, such as SaaS and
maintenance, (2) any add-on accessories, and (3) installation and training.
Installation and training are included in service revenue as described below, and
add-on accessories are included in product revenue. Because the equipment, SaaS,
and maintenance components of a subscription arrangement are recognized as
revenue over the same time period and in the same pattern, the Company elected
the practical expedient to aggregate non-lease components with the associated lease
component and account for the combined component as an operating lease for all
underlying asset classes. In the evaluation of whether the lease component
(equipment) or the non-lease components associated with the lease component
(SaaS and maintenance) is the predominant component, the Company determined
that the lease component is predominant as we believe the customer would ascribe
more value to the use of the security equipment than that of the SaaS and
maintenance services. Therefore, the Company accounts for the combined lease
component under ASC 842. The equipment lease and SaaS/maintenance
performance obligations are classified as a single category of subscription revenue
in the consolidated statements of operations and comprehensive loss. The
installation and training services represent distinct services provided to customers.
These activities are considered separate performance obligations to the customer
and therefore are considered non-lease components. As installation and training
services are performed prior to lease commencement, the timing and pattern of
transfer for these services differ from that of the lease component and are not
eligible to be combined.

We exclude from variable payments all lessor costs that are explicitly required to
be paid directly by a lessee on behalf of the lessor to a third party. Revenue related
to leases entered into with related parties were $0.6 million and less than
$0.1 million during the years ended December 31, 2022 and 2021, respectively.

Installation and training are generally billed to the lessee as part of the lease contract
billing, according to various contractual terms. The installation and training costs
incurred by the Company are accounted for as a fulfillment cost and are included
in the cost of services revenue in the consolidated statements of operations and
comprehensive loss.




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Services Revenue

The Company provides SaaS, maintenance, installation and training services for
our products. Revenue for installation and training are recognized upon transfer of
control of these services, which are normally rendered over a short duration.
Maintenance consists of technical support, bug fixes and when-and-if available
threat updates. SaaS and maintenance revenue is recognized ratably over the period
of the arrangement.

Revenue from Channel Partners

A portion of the Company’s revenue is also generated by sales to its channel
partners. When the Company transacts with a channel partner, its contractual
arrangement is with the channel partner and not with the end-use customer. In these
transactions, the channel partner is considered the customer; the Company has
discretion over the pricing to the channel partner and maintains overall control of
the inventory and sales process to the channel partner. Right of return does not
generally exist. Whether the Company transacts with a channel partner and receives
the order from a channel partner or directly from an end-use customer, its revenue
recognition policy and resulting pattern of revenue recognition is the same.

Transaction Price

The transaction price is the amount of consideration that the Company expects to
be entitled for providing goods and services under a contract, which can include
both fixed and variable consideration. The Company may also provide discounts to
customers which reduce the transaction price. From time-to-time, the Company
may offer customers the option to purchase additional goods and services at a fixed
price. In these circumstances, the Company assesses whether these offers constitute
a material right, and if so, the Company would account for the material right as a
separate performance obligation. Other types of variable consideration are not
considered significant. The Company does not normally provide for rights of
returns to customers on product sales and, therefore, does not record a provision for
returns. Amounts paid or payable to customers, including those related to
sponsorship arrangements, are recognized as a reduction of the transaction price,
and therefore, of revenue unless the payment is in exchange for a distinct good or
service.

Performance Obligations

A performance obligation is a promise in a contract to transfer a distinct product or
service to a customer that is both capable of being distinct, whereby the customer
can benefit from the product or service either on its own or together with other
resources that are readily available, and is distinct in the context of the contract,
whereby the transfer of the product or service is separately identifiable from other
promises in the contract.



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Equipment is sold or leased with embedded software, which is considered a single
performance obligation. Maintenance, which includes future updates, security
threat updates, and minor bug fixes on a when-and-if available basis, is considered
a single performance obligation. SaaS, which include data-driven security
information and analytics insights, is also considered a performance obligation.
Installation and training are considered separate performance obligations and are
included within service revenue. Any add-on accessories are also considered
separate performance obligations and are included in product revenue.

Payment terms

Payment terms for customer orders are typically 30 days after the shipment or
installation of the product. Generally, the Company’s contracts do not contain a
significant financing component.

Multiple Performance Obligations within an Arrangement

The Company’s contracts may include multiple performance obligations when
customers purchase a combination of products and services. When the Company’s
customer arrangements have multiple performance obligations that contain an
equipment lease for the customer’s use as well as distinct services that are delivered
simultaneously, the Company allocates the arrangement consideration between the
lease deliverables and non-lease deliverables based on the relative estimated SSP
of each distinct performance obligation. For multiple performance obligation
arrangements that do not contain a lease, the Company allocates the contract’s
transaction price to each performance obligation on a relative SSP basis. The
Company determines SSP based on the price at which the performance obligation
is sold separately. If the SSP is not observable through past transactions, the
Company estimates the SSP taking into account available information such as
market conditions, internally approved pricing guidelines, and observable pricing
data such as standard cost metrics related to the performance obligation.

                                  *       *       *

5. Revenue Recognition

The Company recognizes revenue in accordance with Accounting Standards
Codification 606 – Revenue from Contracts with Customers (“ASC 606”). Under
ASC 606, revenue is recognized when a customer obtains control of promised
goods or services, in an amount that reflects the consideration which the entity
expects to receive in exchange for those goods or services. In order to achieve this
core principle, the Company applies the following five steps when recording
revenue: (1) identify the contract, or contracts, with the customer, (2) identify the
performance obligations in the contract, (3) determine the transaction price, (4)




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       allocate the transaction price to the performance obligations in the contract and (5)
       recognize revenue when, or as, performance obligations are satisfied.

       The Company derives revenue from (1) subscription arrangements generally
       accounted for as operating leases under ASC 842 (and ASC 840 prior to adoption
       of ASC 842) and (2) from the sale of products, inclusive of SaaS and maintenance
       and (3) professional services. The Company’s arrangements are generally
       noncancelable and nonrefundable after ownership passes to the customer for
       product sales and upon installation or delivery for subscriptions. Revenue is
       recognized net of sales tax.

       32.      Defendants George and Donohue certified, pursuant to 18 U.S.C. § 1350, that the

Form 10-K fairly represented the financial condition of the Company. Defendants George and

Donohue also certified, pursuant to Exchange Act Rule 13a-14(a), that the Form 10-K did not

contain any false statements or omissions of material fact that would make the Form 10-K

misleading, and that they disclosed to the Audit Committee and the Company’s auditors any fraud

or significant deficiencies or material weaknesses in Evolv’s internal controls.

       33.      On May 10, 2023, the Company released its financial results for the first quarter of

2023. The Form 10-Q filed with the SEC that day included the amounts of revenue for the quarter:

                  EVOLV TECHNOLOGIES HOLDINGS, INC.
        CONDENSED CONSOLIDATED STATEMENTS OF OPERATIONS AND
                           COMPREHENSIVE LOSS
                (In thousands, except share and per share amounts)
                                   (Unaudited)
                                                      Three Months Ended
                                                           March 31,
                                                                2023               2022
       Revenue:
         Product revenue                                   $        8,754 $           5,194
         Subscription revenue                                       6,466             3,004
         Service revenue                                            3,361                 512
             Total revenue                                         18,581             8,710




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34.    The Form 10-Q also stated:

4. Revenue Recognition

The Company recognizes revenue in accordance with Accounting Standards
Codification 606 – Revenue from Contracts with Customers (“ASC 606”). Under
ASC 606, revenue is recognized when a customer obtains control of promised
goods or services, in an amount that reflects the consideration which the entity
expects to receive in exchange for those goods or services. In order to achieve this
core principle, the Company applies the following five steps when recording
revenue: (1) identify the contract, or contracts, with the customer, (2) identify the
performance obligations in the contract, (3) determine the transaction price, (4)
allocate the transaction price to the performance obligations in the contract and (5)
recognize revenue when, or as, performance obligations are satisfied.

The Company derives revenue from (1) subscription arrangements generally
accounted for as operating leases under ASC 842 and (2) from the sale of products,
inclusive of SaaS and maintenance and (3) professional services. The Company’s
arrangements are generally noncancelable and nonrefundable after shipment to the
customer. Revenue is recognized net of sales tax.

                                  *      *       *

Revenue

We derive revenue from (1) subscription arrangements generally accounted for as
operating leases, (2) the sale of products, inclusive of SaaS and maintenance, and
(3) professional services. Our arrangements are generally noncancelable and
nonrefundable after shipment to the customer. Revenue is recognized net of sales
tax.

Product Revenue

We derive a portion of our revenue from the sale of our Evolv Express equipment
and related add-on accessories to customers. Revenue is recognized when control
of the product has transferred to the customer, which follows the terms of each
contract. We expect product revenue to decline as a percentage of our overall
revenue overtime as more customers enter full subscription transactions with us and
as our subscription becomes more valuable to our business.

Subscription Revenue

Subscription revenue consists of revenue derived from leasing Evolv Express and
Evolv Edge units to our customers. Lease terms are typically four years and
customers generally pay either a quarterly or annual fixed payment for the lease,
SaaS, and maintenance elements over the contractual lease term. Equipment leases



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       are generally classified as operating leases as they do not meet any of the sales-type
       lease criteria per ASC 842 and recognized ratably over the duration of the lease.
       There are no contingent lease payments as a part of these arrangements.

       Generally, lease arrangements include both lease and non-lease components. The
       non-lease components relate to (1) distinct services, such as installation, training,
       SaaS, and maintenance and (2) any add-on accessories. Installation and training are
       included in services revenue as described below, and add-on accessories are
       included in product revenue as described above. Because the equipment lease,
       SaaS, and maintenance components of a subscription arrangement are recognized
       as revenue over the same time period and in the same pattern, the equipment lease
       and SaaS/maintenance performance obligations are classified as a single category
       of subscription revenue in our condensed consolidated statements of operations and
       comprehensive loss.

       Services Revenue

       Services revenue includes subscription-based SaaS and maintenance revenue
       related to products sold to customers, as well as installation and training services.
       Revenue for installation and training are recognized upon transfer of control of
       these services, which are normally rendered over a short duration. Maintenance
       consists of technical support, bug fixes, and when-and-if available threat updates.
       SaaS and maintenance revenue is recognized ratably over the period of the
       arrangement, which is typically four years.


       35.     On August 10, 2023, the Company released its financial results for the second

quarter of 2023. The Form 10-Q filed with the SEC that day included the amounts of revenue for

the quarter and the first six months of the year:

                  EVOLV TECHNOLOGIES HOLDINGS, INC.
        CONDENSED CONSOLIDATED STATEMENTS OF OPERATIONS AND
                           COMPREHENSIVE LOSS
                (In thousands, except share and per share amounts)
                                   (Unaudited)

                                                Three Months Ended Six Months Ended
                                                      June 30,          June 30,
                                                     2023          2022      2023     2022
        Revenue:
          Product revenue                       $        7,243 $    4,146 $ 15,997 $ 9,340
          Subscription revenue                           7,964      4,006    14,430    7,010



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  Service revenue                              4,618       918      7,979     1,430
      Total revenue                           19,825     9,070     38,406    17,780


36.      The Form 10-Q also stated:

4. Revenue Recognition

The Company recognizes revenue in accordance with Accounting Standards
Codification 606 – Revenue from Contracts with Customers (“ASC 606”). Under
ASC 606, revenue is recognized when a customer obtains control of promised
goods or services, in an amount that reflects the consideration which the entity
expects to receive in exchange for those goods or services. In order to achieve this
core principle, the Company applies the following five steps when recording
revenue: (1) identify the contract, or contracts, with the customer, (2) identify the
performance obligations in the contract, (3) determine the transaction price, (4)
allocate the transaction price to the performance obligations in the contract and (5)
recognize revenue when, or as, performance obligations are satisfied.

The Company derives revenue from (1) subscription arrangements generally
accounted for as operating leases under ASC 842 and (2) from the sale of products,
inclusive of SaaS and maintenance, (3) professional services, and (4) license fees
related to a distribution and license agreement with the Company's primary contract
manufacturer. The Company’s arrangements are generally noncancelable and
nonrefundable after shipment to the customer. Revenue is recognized net of sales
tax.

                                  *      *        *

Revenue

We derive revenue from (1) subscription arrangements generally accounted for as
operating leases, (2) the sale of products, inclusive of SaaS and maintenance, (3)
professional services, and (4) license fees related to the Distribution and License
Agreement. Our arrangements are generally noncancelable and nonrefundable after
shipment to the customer. Revenue is recognized net of sales tax.

Product Revenue

We derive a portion of our revenue from the sale of our Evolv Express equipment
and related add-on accessories to customers. Revenue is recognized when control
of the product has transferred to the customer, which follows the terms of each
contract. We expect product revenue to decline as a percentage of our overall
revenue over time as more customers enter full subscription transactions with us
and as our subscription becomes more valuable to our business.



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       Subscription Revenue

       Subscription revenue consists of revenue derived from leasing Evolv Express and
       Evolv Edge units to our customers. Lease terms are typically four years and
       customers generally pay either a quarterly or annual fixed payment for the lease,
       SaaS, and maintenance elements over the contractual lease term. Equipment leases
       are generally classified as operating leases as they do not meet any of the sales-type
       lease criteria per ASC 842 and recognized ratably over the duration of the lease.
       There are no contingent lease payments as a part of these arrangements.

       Generally, lease arrangements include both lease and non-lease components. The
       non-lease components relate to (1) distinct services, such as installation, training,
       SaaS, and maintenance and (2) any add-on accessories. Installation and training are
       included in services revenue as described below, and add-on accessories are
       included in product revenue as described above. Because the equipment lease,
       SaaS, and maintenance components of a subscription arrangement are recognized
       as revenue over the same time period and in the same pattern, the equipment lease
       and SaaS/maintenance performance obligations are classified as a single category
       of subscription revenue in our condensed consolidated statements of operations and
       comprehensive loss.

       Services Revenue

       Services revenue includes subscription-based SaaS and maintenance revenue
       related to products sold to customers, installation and training services, and license
       fees related to the Distribution and License Agreement. Maintenance consists of
       technical support, bug fixes, and when-and-if available threat updates. SaaS and
       maintenance revenue is recognized ratably over the period of the arrangement,
       which is typically four years. Revenue for installation and training are recognized
       upon transfer of control of these services, which are normally rendered over a short
       duration. License fee revenue is recognized upon the shipment of product from
       Columbia Tech to the reseller.


       37.     On November 9, 2023, the Company released its financial results for the third

quarter of 2023. The Form 10-Q filed with the SEC that day included the amounts of revenue for

the quarter and the first nine months of the year:

                  EVOLV TECHNOLOGIES HOLDINGS, INC.
        CONDENSED CONSOLIDATED STATEMENTS OF OPERATIONS AND
                      COMPREHENSIVE INCOME (LOSS)
                (In thousands, except share and per share amounts)
                                   (Unaudited)



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                                          Three Months
                                             Ended                  Nine Months Ended
                                          September 30,               September 30,
                                          2023           2022         2023      2022
Revenue:
  Product revenue                     $        3,191 $    9,839 $ 19,188 $ 19,179
  Subscription revenue                        10,231      5,198       24,661    12,208
  Service revenue                              4,757      1,493       12,736     2,923
 License fee and other revenue                 2,012            —       2,012          —
      Total revenue                           20,191     16,530       58,597    34,310



38.      The Form 10-Q also stated:

5. Revenue Recognition

The Company recognizes revenue in accordance with Accounting Standards
Codification 606 – Revenue from Contracts with Customers (“ASC 606”). Under
ASC 606, revenue is recognized when a customer obtains control of promised
goods or services, in an amount that reflects the consideration which the entity
expects to receive in exchange for those goods or services. In order to achieve this
core principle, the Company applies the following five steps when recording
revenue: (1) identify the contract, or contracts, with the customer, (2) identify the
performance obligations in the contract, (3) determine the transaction price, (4)
allocate the transaction price to the performance obligations in the contract and (5)
recognize revenue when, or as, performance obligations are satisfied.

The Company derives revenue from (1) subscription arrangements generally
accounted for as operating leases under ASC 842 and (2) from the sale of products,
inclusive of SaaS and maintenance, (3) professional services, and (4) license fees
related to a distribution and license agreement with the Company's primary contract
manufacturer. The Company’s arrangements are generally noncancelable and
nonrefundable after shipment to the customer. Revenue is recognized net of sales
tax.

                                  *       *        *

Revenue

We derive revenue from (1) subscription arrangements generally accounted for as
operating leases, (2) the sale of products, inclusive of SaaS and maintenance, (3)


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professional services, and (4) license fees related to the Distribution and License
Agreement. Our arrangements are generally noncancelable and nonrefundable after
shipment to the customer. Revenue is recognized net of sales tax.

Product Revenue

We derive a portion of our revenue from the sale of our Evolv Express equipment
and related add-on accessories to customers. Revenue is recognized when control
of the product has transferred to the customer, which follows the terms of each
contract. We expect product revenue to decline as a percentage of our overall
revenue over time as more customers enter full subscription transactions with us
and as our subscription becomes more valuable to our business.

Subscription Revenue

Subscription revenue consists of revenue derived from leasing Evolv Express and
Evolv Edge units to our customers. Lease terms are typically four years and
customers generally pay either a quarterly or annual fixed payment for the lease,
SaaS, and maintenance elements over the contractual lease term. Equipment leases
are generally classified as operating leases as they do not meet any of the sales-type
lease criteria per ASC 842 and recognized ratably over the duration of the lease.
There are no contingent lease payments as a part of these arrangements.

Generally, lease arrangements include both lease and non-lease components. The
non-lease components relate to (1) distinct services, such as installation, training,
SaaS, and maintenance and (2) any add-on accessories. Installation and training are
included in services revenue as described below, and add-on accessories are
included in product revenue as described above. Because the equipment lease,
SaaS, and maintenance components of a subscription arrangement are recognized
as revenue over the same time period and in the same pattern, the equipment lease
and SaaS/maintenance performance obligations are classified as a single category
of subscription revenue in our condensed consolidated statements of operations and
comprehensive loss.

Services Revenue

Services revenue includes subscription-based SaaS and maintenance revenue
related to products sold to customers, installation and training services, and license
fees related to the Distribution and License Agreement. Maintenance consists of
technical support, bug fixes, and when-and-if available threat updates. SaaS and
maintenance revenue is recognized ratably over the period of the arrangement,
which is typically four years. Revenue for installation and training are recognized
upon transfer of control of these services, which are normally rendered over a short
duration. License fee revenue is recognized upon the shipment of product from
Columbia Tech to the reseller.




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       39.    On February 29, 2024, the Company released its financial results for the fourth

quarter and full year 2023. The Form 10-K filed with the SEC that day stated:

       Revenue

       We derive revenue from (1) subscription arrangements generally accounted for as
       operating leases, including SaaS and maintenance, (2) the sale of products, (3) SaaS
       and maintenance related to products sold to customers either by Evolv or by
       Columbia Tech pursuant to the Distribution and License Agreement, (4) license
       fees related to the Distribution and License Agreement, and (5) professional
       services, including installation, training, and event support. Maintenance consists
       of preventative maintenance, technical support, bug fixes, and when-and-if
       available threat updates. Our arrangements are generally noncancelable and
       nonrefundable after shipment to the customer. Revenue is recognized net of sales
       tax.

       Product Revenue

       We derive a portion of our revenue from the sale of our Evolv Express equipment
       and related add-on accessories to customers. Revenue is recognized when control
       of the product has transferred to the customer, which follows the terms of each
       contract. We expect product revenue to continue declining as a percentage of our
       overall revenue as we continue focusing our go-to-market strategy on pure
       subscription contracts and contracts under our distributor licensing model.

       Subscription Revenue

       Subscription revenue consists of revenue derived from leasing Evolv Express and
       Evolv Edge units to our customers. Lease terms are typically four years and
       customers generally pay either a quarterly or annual fixed payment for the lease,
       SaaS, and maintenance elements over the contractual lease term. Equipment leases
       are generally classified as operating leases and recognized ratably over the duration
       of the lease. There are no contingent lease payments as a part of these arrangements.
       Lease arrangements generally include both lease and non-lease components. The
       non-lease components relate to (1) distinct services, including professional
       services, SaaS, and maintenance, and (2) any add-on accessories. Professional
       services are included in license fees and other revenue as described below, and add-
       on accessories are included in product revenue as described above. Because the
       equipment lease, SaaS, and maintenance components of a subscription arrangement
       are recognized as revenue over the same time period and in the same pattern, the
       equipment lease and SaaS/maintenance performance obligations are classified as a
       single category of subscription revenue in our consolidated statements of operations
       and comprehensive loss.

       Service Revenue



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Service revenue consists of subscription-based SaaS and maintenance revenue
related to products sold to customers. Customers generally pay either a quarterly or
annual fixed payment for SaaS and maintenance. SaaS and maintenance revenue is
recognized ratably over the period of the arrangement, which is typically four years.
License Fee and Other Revenue

License fee and other revenue includes license fee revenue from the Distribution
and License Agreement, revenue from professional services, and other one-time
revenue. License fee revenue is recognized upon the shipment of product from our
primary third-party manufacturer to the reseller. Revenue for professional services
is recognized upon transfer of control of these services, which are normally
rendered over a short duration. Revenue for professional services and other one-
time revenue, which had previously been included in service revenue, has been
reclassified for prior periods to License fee and other revenue on the consolidated
statements of operations and comprehensive loss.

                                  *      *        *

The following table summarizes our results of operations for the years ended
December 31, 2023 and 2022 (in thousands):
                                     Year Ended

                                       December 31,

                                       2023           2022     $ Change      % Change

Revenue:

  Product revenue                  $   21,977 $       31,985 $    (10,008)       (31)%

  Subscription revenue                 37,247         17,569      19,678          112

  Service revenue                      16,141          4,331      11,810          273

  License fee and other revenue         5,053          1,310        3,743         286

    Total revenue                      80,418         55,195      25,223           46



                                  *      *        *

Revenue Recognition



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We derive revenue from (1) subscription arrangements generally accounted for as
operating leases, including SaaS and maintenance, (2) the sale of products, (3) SaaS
and maintenance related to products sold to customers either by Evolv or by
Columbia Tech pursuant to the Distribution and License Agreement, (4) license
fees under the Distribution and License Agreement, and (5) professional services,
including installation, training, and event support. Maintenance consists of
preventative maintenance, technical support, bug fixes, and when-and-if available
threat updates. Our arrangements are generally noncancelable and nonrefundable
after ownership passes to the customer. Revenue is recognized net of sales tax.

Product Revenue

We derive a portion of our revenue from the sale of our Evolv Express equipment
and related add-on accessories to customers. Revenue is recognized when control
of the product has transferred to the customer, which follows the terms of each
contract.

Subscription Revenue

Subscription revenue is comprised of revenue derived from leasing Evolv Express
and Evolv Edge units to our customers. Lease terms are typically four years and
customers generally pay either a quarterly or annual fixed payment for the lease,
SaaS, and maintenance elements over the contractual lease term. Equipment leases
are generally classified as operating leases and recognized ratably over the duration
of the lease. There are no contingent lease payments as a part of these arrangements.
Lease arrangements generally include both lease and non-lease components. The
non-lease components relate to (1) distinct services, including professional
services, SaaS, and maintenance, and (2) any add-on accessories. Professional
services are included in license fees and other revenue as described below, and add-
on accessories are included in product revenue as described above. Because the
equipment lease, SaaS, and maintenance components of a subscription arrangement
are recognized as revenue over the same time period and in the same pattern, the
equipment lease and SaaS/maintenance performance obligations are classified as a
single category of subscription revenue in our consolidated statements of operations
and comprehensive loss.

Service Revenue

Service revenue consists of subscription-based SaaS and maintenance revenue
related to products sold to a customer. Customers generally pay either a quarterly
or annual fixed payment for SaaS and maintenance. SaaS and maintenance revenue
is recognized ratably over the period of the arrangement, which is typically four
years.

License Fee and Other Revenue




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License fee and other revenue includes license fee revenue from the Distribution
and License Agreement, revenue from professional services, and other one-time
revenue. License fee revenue is recognized upon the shipment of product from our
third-party manufacturer to the reseller. Revenue for professional services is
recognized upon transfer of control of these services, which are normally rendered
over a short duration.

Revenue from Reseller Partners

A portion of our revenue is generated by sales in conjunction with our reseller
partners. When we transact with a reseller partner, our contractual arrangement is
with the reseller partner and not with the end-use customer. Whether we transact
with a reseller partner and receive the order from a reseller partner or directly from
an end-use customer, our revenue recognition policy and resulting pattern of
revenue recognition is the same.

Standalone Selling Price

We allocate the transaction price to each distinct performance obligation based on
the standalone selling price (“SSP”) of each product or service. Our contracts may
include multiple performance obligations when customers purchase a combination
of products and services. When our customer arrangements have multiple
performance obligations that contain a lease as well as distinct services that are
delivered simultaneously, we allocate the arrangement consideration between the
lease deliverables and non-lease deliverables based on the relative estimated SSP
of each distinct performance obligation. For multiple performance obligation
arrangements that do not contain a lease, we allocate the contract’s transaction price
to each performance obligation on a relative SSP basis.

                                  *       *       *

Revenue Recognition

The Company recognizes revenue in accordance with Accounting Standards
Codification 606 – Revenue from Contracts with Customers (“ASC 606”). Under
ASC 606, revenue is recognized when a customer obtains control of promised
goods or services, in an amount that reflects the consideration which the entity
expects to receive in exchange for those goods or services. In order to achieve this
core principle, the Company applies the following five steps when recording
revenue: (1) identify the contract, or contracts, with the customer, (2) identify the
performance obligations in the contract, (3) determine the transaction price, (4)
allocate the transaction price to the performance obligations in the contract and (5)
recognize revenue when, or as, performance obligations are satisfied.

We derive revenue from (1) subscription arrangements generally accounted for as
operating leases, including SaaS and maintenance, (2) the sale of products, (3) SaaS



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       and maintenance related to products sold to customers either by Evolv or by
       Columbia Tech pursuant to the Distribution and License Agreement (as defined
       below), (4) license fees related to the Distribution and License Agreement (as
       defined below), and (5) professional services, including installation, training, and
       event support. Maintenance consists of preventative maintenance, technical
       support, bug fixes, and when-and-if available threat updates. Our arrangements are
       generally noncancelable and nonrefundable after ownership passes to the customer.
       Revenue is recognized net of sales tax.

       40.      Defendants George and Donohue certified, pursuant to 18 U.S.C. § 1350, that the

Form 10-K fairly represented the financial condition of the Company. Defendants George and

Donohue also certified, pursuant to Exchange Act Rule 13a-14(a), that the Form 10-K did not

contain any false statements or omissions of material fact that would make the Form 10-K

misleading, and that they disclosed to the Audit Committee and the Company’s auditors any fraud

or significant deficiencies or material weaknesses in Evolv’s internal controls.

       41.      On May 9, 2024, the Company released its financial results for the first quarter of

2024. The Form 10-Q filed with the SEC that day included the amounts of revenue for the quarter:

                  EVOLV TECHNOLOGIES HOLDINGS, INC.
        CONDENSED CONSOLIDATED STATEMENTS OF OPERATIONS AND
                           COMPREHENSIVE LOSS
                (In thousands, except share and per share amounts)
                                   (Unaudited)
                                                      Three Months Ended
                                                           March 31,
                                                               2024                2023
       Revenue:
         Product revenue                                 $             603 $          8,754
         Subscription revenue                                      14,503             6,466
         Service revenue                                            5,384             2,786
         License fee and other revenue                                1,178               575
             Total revenue                                         21,668            18,581


       42.      The Form 10-Q also stated:


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5. Revenue Recognition

The Company recognizes revenue in accordance with Accounting Standards
Codification 606 – Revenue from Contracts with Customers (“ASC 606”). Under
ASC 606, revenue is recognized when a customer obtains control of promised
goods or services, in an amount that reflects the consideration which the entity
expects to receive in exchange for those goods or services. In order to achieve this
core principle, the Company applies the following five steps when recording
revenue: (1) identify the contract, or contracts, with the customer, (2) identify the
performance obligations in the contract, (3) determine the transaction price, (4)
allocate the transaction price to the performance obligations in the contract and (5)
recognize revenue when, or as, performance obligations are satisfied.

The Company derives revenue from (1) subscription arrangements generally
accounted for as operating leases, including SaaS and maintenance, (2) the sale of
products, (3) SaaS and maintenance related to products sold to customers either by
Evolv or by Columbia Tech pursuant to the Distribution and License Agreement
(as defined below), (4) license fees related to the Distribution and License
Agreement (as defined below), and (5) professional services, including installation,
training, and event support. Maintenance consists of preventative maintenance,
technical support, bug fixes, and when-and-if available threat updates. Our
arrangements are generally noncancelable and nonrefundable after ownership
passes to the customer. Revenue is recognized net of sales tax.

                                  *      *       *

Revenue

We derive revenue from (1) subscription arrangements generally accounted for as
operating leases, including SaaS and maintenance, (2) the sale of products, (3) SaaS
and maintenance related to products sold to customers either by Evolv or by
Columbia Tech pursuant to the Distribution and License Agreement, (4) license
fees related to the Distribution and License Agreement, and (5) professional
services, including installation, training, and event support. Maintenance consists
of preventative maintenance, technical support, bug fixes, and when-and-if
available threat updates. Our arrangements are generally noncancelable and
nonrefundable after shipment to the customer. Revenue is recognized net of sales
tax.

Product Revenue

We derive a portion of our revenue from the sale of our Evolv Express equipment
and related add-on accessories to customers. Revenue is recognized when control
of the product has transferred to the customer, which follows the terms of each
contract. We expect product revenue to continue declining as a percentage of our




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overall revenue as we continue focusing our go-to-market strategy on our pure
subscription and distributor licensing sales models.

Subscription Revenue

Subscription revenue consists of revenue derived from leasing Evolv Express units
to our customers. Lease terms are typically four years and customers generally pay
either a quarterly or annual fixed payment for the lease, SaaS, and maintenance
elements over the contractual lease term. Equipment leases are generally classified
as operating leases and recognized ratably over the duration of the lease. There are
no contingent lease payments as a part of these arrangements.

Lease arrangements generally include both lease and non-lease components. The
non-lease components relate to (1) distinct services, including professional
services, SaaS, and maintenance, and (2) any add-on accessories. Professional
services are included in license fees and other revenue as described below, and add-
on accessories are included in product revenue as described above. Because the
equipment lease, SaaS, and maintenance components of a subscription arrangement
are recognized as revenue over the same time period and in the same pattern, the
equipment lease and SaaS/maintenance performance obligations are classified as a
single category of subscription revenue in our consolidated statements of operations
and comprehensive loss.

Service Revenue

Service revenue consists of subscription-based SaaS and maintenance revenue
related to Evolv Express units sold to customers. Customers generally pay either a
quarterly or annual fixed payment for SaaS and maintenance. SaaS and
maintenance revenue is recognized ratably over the period of the arrangement,
which is typically four years.

License Fee and Other Revenue

License fee and other revenue includes license fee revenue from the Distribution
and License Agreement, revenue from professional services, and other one-time
revenue. License fee revenue is recognized upon the shipment of product from
Columbia Tech to the reseller. Revenue for professional services is recognized
upon transfer of control of these services, which are normally rendered over a short
duration. Revenue for professional services and other one-time revenue, which had
previously been included in service revenue, has been reclassified for prior periods
to License fee and other revenue on the consolidated statements of operations and
comprehensive loss.




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        43.      On August 8, 2024, the Company released its financial results for the second quarter

of 2024. The Form 10-Q filed with the SEC that day included the amounts of revenue for the

quarter and first half of the year:

                  EVOLV TECHNOLOGIES HOLDINGS, INC.
        CONDENSED CONSOLIDATED STATEMENTS OF OPERATIONS AND
                      COMPREHENSIVE INCOME (LOSS)
                (In thousands, except share and per share amounts)
                                   (Unaudited)

                                                   Three Months
                                                      Ended                Six Months Ended
                                                     June 30,                   June 30,
                                                   2024           2023       2024      2023
        Revenue:
          Product revenue                      $        2,044 $    7,243 $    2,647 $ 15,997
          Subscription revenue                      15,903         7,964     30,406    14,430
          Service revenue                               5,553      3,905     10,937     6,691
          License fee and other revenue                 2,040        713       3,218     1,288
              Total revenue                         25,540        19,825     47,208    38,406


        44.      The Form 10-Q also stated:

        5. Revenue Recognition

        The Company recognizes revenue in accordance with Accounting Standards
        Codification 606 – Revenue from Contracts with Customers (“ASC 606”). Under
        ASC 606, revenue is recognized when a customer obtains control of promised
        goods or services, in an amount that reflects the consideration which the entity
        expects to receive in exchange for those goods or services. In order to achieve this
        core principle, the Company applies the following five steps when recording
        revenue: (1) identify the contract, or contracts, with the customer, (2) identify the
        performance obligations in the contract, (3) determine the transaction price, (4)
        allocate the transaction price to the performance obligations in the contract and (5)
        recognize revenue when, or as, performance obligations are satisfied.

        The Company derives revenue from (1) subscription arrangements generally
        accounted for as operating leases, including SaaS and maintenance, (2) the sale of
        products, (3) SaaS and maintenance related to products sold to customers either by


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Evolv or by Columbia Tech pursuant to the Distribution and License Agreement
(as defined below), (4) license fees related to the Distribution and License
Agreement (as defined below), and (5) professional services, including installation,
training, and event support. Maintenance consists of preventative maintenance,
technical support, bug fixes, and when-and-if available threat updates. Our
arrangements are generally noncancelable and nonrefundable after ownership
passes to the customer. Revenue is recognized net of sales tax.

                                 *       *      *

Revenue

We derive revenue from (1) subscription arrangements generally accounted for as
operating leases, including SaaS and maintenance, (2) the sale of products, (3) SaaS
and maintenance related to products sold to customers either by Evolv or by
Columbia Tech pursuant to the Distribution and License Agreement, (4) license
fees related to the Distribution and License Agreement, and (5) professional
services, including installation, training, and event support. Maintenance consists
of preventative maintenance, technical support, bug fixes, and when-and-if
available threat updates. Our arrangements are generally noncancelable and
nonrefundable after shipment to the customer. Revenue is recognized net of sales
tax.

Product Revenue

We derive a portion of our revenue from the sale of our Evolv Express equipment
and related add-on accessories to customers. Revenue is recognized when control
of the product has transferred to the customer, which follows the terms of each
contract. We expect product revenue to continue declining as a percentage of our
overall revenue as we continue focusing our go-to-market strategy on our pure
subscription and distributor licensing sales models.

Subscription Revenue

Subscription revenue consists of revenue derived from leasing Evolv Express units
to our customers. Lease terms are typically four years and customers generally pay
either a quarterly or annual fixed payment for the lease, SaaS, and maintenance
elements over the contractual lease term. Equipment leases are generally classified
as operating leases and recognized ratably over the duration of the lease. There are
no contingent lease payments as a part of these arrangements.

Lease arrangements generally include both lease and non-lease components. The
non-lease components relate to (1) distinct services, including professional
services, SaaS, and maintenance, and (2) any add-on accessories. Professional
services are included in license fees and other revenue as described below, and add-
on accessories are included in product revenue as described above. Because the



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       equipment lease, SaaS, and maintenance components of a subscription arrangement
       are recognized as revenue over the same time period and in the same pattern, the
       equipment lease and SaaS/maintenance performance obligations are classified as a
       single category of subscription revenue in our consolidated statements of operations
       and comprehensive income (loss).

       Service Revenue

       Service revenue consists of subscription-based SaaS and maintenance revenue
       related to Evolv Express units sold to customers. Customers generally pay either a
       quarterly or annual fixed payment for SaaS and maintenance. SaaS and
       maintenance revenue is recognized ratably over the period of the arrangement,
       which is typically four years.

       License Fee and Other Revenue

       License fee and other revenue includes license fee revenue from the Distribution
       and License Agreement, revenue from professional services, and other one-time
       revenue. License fee revenue is recognized upon the shipment of product from
       Columbia Tech to the reseller. Revenue for professional services is recognized
       upon transfer of control of these services, which are normally rendered over a short
       duration. Revenue for professional services and other one-time revenue, which had
       previously been included in service revenue, has been reclassified for prior periods
       to License fee and other revenue on the consolidated statements of operations and
       comprehensive income (loss). We expect license fee and other revenue to continue
       to increase as we continue to focus our go-to-market strategy on our distributor
       licensing sales model.


       45.     The foregoing statements were materially false and misleading, and failed to

disclose materially adverse facts about the Company’s business and operations. Specifically, the

statements failed to disclose that: (a) employees at Evolv had used extra-contractual terms and

conditions in certain contracts; (b) the extra-contractual terms were not provided to the Company’s

auditor or accounting department; (c) the extra-contractual terms were not accounted for in

accordance with GAAP; (d) the Company’s financial statements included improperly recognized

revenue; and (e) as a result of the foregoing, the Company’s SEC filings and financial statements

were materially false and/or misleading.




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          B.     The Truth is Revealed

          46.    On October 25, 2024, the Company filed a Form 8-K with the SEC, under Item

4.02: Non-Reliance on Previously Issued Financial Statements or a Related Audit Report or

Completed Interim Review. The Form 8-K included a press release to be issued the next day, which

stated:

                The Board of Evolv Technology Determines that Certain Financial
                             Statements Should Not Be Relied Upon

                    Company Delays Release of Third Quarter Financial Results

          Waltham, Massachusetts – October 25, 2024 – Evolv Technology (“Evolv” or
          the “Company”) (NASDAQ: EVLV), a leading security technology company
          pioneering AI-based screening designed to create safer experiences, today
          announced that shareholders and others should not rely upon certain of the
          Company’s previously issued financial statements and that it will delay filing its
          Quarterly Report on Form 10-Q for the period ended September 30, 2024.

          An ad hoc committee of independent directors (the “committee”) of the Board of
          Directors of the Company (the “Board”), under the direction of the Board, is
          conducting an internal investigation that is focused on the Company’s sales
          practices, including whether certain sales of products and subscriptions to channel
          partners and end users were subject to extra-contractual terms and conditions that
          impacted revenue recognition and other metrics, and if so, when senior Company
          personnel became aware of these issues.

          While the committee’s investigation is ongoing, the committee has made a
          preliminary determination that certain sales, including sales to one of its largest
          channel partners, were subject to extra-contractual terms and conditions, some of
          which were not shared with the Company’s accounting personnel, and that certain
          Company personnel engaged in misconduct in connection with those transactions.
          Furthermore, these extra-contractual terms and conditions were withheld from the
          Company’s Audit Committee of the Board (the “Audit Committee”) and the
          Company’s       independent       registered      public     accounting       firm,
          PricewaterhouseCoopers LLP (“PwC”).

          As a result of these preliminary findings, the committee has determined that the
          accounting for certain sales transactions was inaccurate and that, among other
          things, revenue was prematurely or incorrectly recognized in connection with
          financial statements prepared for the periods between the second quarter of 2022
          and the second quarter of 2024. The committee has determined that these
          misstatements are material for certain financial statements prepared for these



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periods and that the recognition of revenue in the proper periods will impact each
of those financial statements. The committee currently estimates that, on a net basis
(taking into account revenue that was prematurely recognized but offset by amounts
appropriately recognized in subsequent periods) through June 30, 2024, the sales
transactions at issue have resulted in premature or incorrect revenue recognition of
approximately $4 million to $6 million. The committee anticipates that the vast
majority of this revenue was prematurely rather than incorrectly recognized. This
estimate is preliminary and subject to change pending the conclusion of the
investigation. Other previously reported metrics that are a function of revenue were
also misstated as a result of these revenue misstatements.

Accordingly, on October 24, 2024, based on the committee’s recommendation, the
Board determined that the Company’s previously issued consolidated financial
statements and other financial data for the fiscal years ended December 31, 2022
and December 31, 2023 contained in its Annual Report on Form 10-K, and its
condensed consolidated financial statements for the quarters and year-to-date
periods ended June 30, 2022, September 30, 2022, March 31, 2023, June 30, 2023,
September 30, 2023, March 31, 2024 and June 30, 2024 contained in its Quarterly
Reports on Form 10-Q (collectively, the “Non-Reliance Periods”), should no longer
be relied upon because of the misstatements described above. The Board also
determined that the Company’s disclosures related to such financial statements and
related communications issued by or on behalf of the Company with respect to the
Non-Reliance Periods should no longer be relied upon. The Company is in the
process of evaluating the impact on internal control over financial reporting and
expects to report one or more additional material weaknesses in internal control
over financial reporting. Certain members of the Audit Committee and the Board
discussed this conclusion with PwC.

As a result of the investigation, the Quarterly Report on Form 10-Q filing and the
Company’s earnings release for the third quarter will be delayed.

The Board commented, “We recognize the importance of timely and accurate
financial disclosures and are working expeditiously to conclude our thorough
investigation. The Board is committed to taking whatever remedial actions are
necessary, so that the Company can provide reliable information to our key
stakeholders.”

The Board continued, “The fundamentals of our business remain strong. We are
seeing demand for our products and services that is in line with our internal
forecasts and consistent with our long-term expectations of advancing our
distribution model and achieving the Rule of 40.”

The Company has self-reported these issues to the Division of Enforcement of the
U.S. Securities and Exchange Commission (the “SEC”), which had been
conducting a previously disclosed and unrelated investigation. The Company is
continuing to cooperate with the SEC investigation.



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       The ad hoc committee has retained Debevoise & Plimpton LLP as legal counsel,
       Cleary Gottlieb Steen & Hamilton LLP as its independent legal counsel and Ankura
       Consulting Group as its forensic accounting firm to conduct the investigation. The
       committee is working closely with these outside experts to complete the
       investigation and prepare amendments to the Company’s financial statements and
       related filings as expeditiously as possible.

       The Company will file a Form 12b-25, Notification of Late Filing, with the SEC
       for its Quarterly Report on Form 10-Q for the period ended September 30, 2024 to
       provide for additional time to complete the committee’s internal investigation and
       prepare amendments to the Company’s financial statements and related filings.

       The Company will provide a further update as soon as the internal investigation is
       complete.

       47.     On October 25, 2024, Evolv’s stock price dropped almost 40% to close at $2.47 per

share on unusually heavy trading volume.

       48.     On October 31, 2024, the Company announced that the Board had terminated

Defendant George’s employment, effective immediately. In the press release issued that day, the

Board stated that Defendant George’s ouster was not connected to the previously disclosed issues

concerning Evolv’s financial disclosures:

       The Board has been evaluating leadership and performance for several months –
       long before we became aware of any potential issues relating to the Company’s
       sales practices and financial reporting. With respect to that ongoing investigation,
       the Board remains committed to completing a thorough investigation as
       expeditiously as possible. Our goal is to ensure the Company’s financial reports are
       always current and reliable and that our organizational culture reflects our values
       of integrity and honesty. That is the only way we can regain the trust and confidence
       of our investors.

       49.     Three weeks later, the Company announced the results of its internal investigation.

According to the press release issued on November 21, 2024:

             Evolv Technology Announces the Results of Its Internal Investigation

                    Reaffirms Revenue Recognition Impact of $4 to $6 million




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 Ending Cash Position of Approximately $56 Million as of September 30, 2024,
                     Consistent with Internal Forecasts

    Announces Remedial Actions and Organizational Changes, Including the
            Resignation of the Company’s Chief Financial Officer

Hires Leading Business Advisory Firm, AlixPartners, to Provide Interim Finance
                         and Accounting Resources

Waltham, Massachusetts – November 21, 2024 – Evolv Technology (“Evolv” or
the “Company”) (NASDAQ: EVLV), a leading security technology company
pioneering AI-based solutions designed to create safer experiences, today
announced the results of the internal investigation previously disclosed on October
25, 2024, into certain sales practices that impacted revenue recognition and other
metrics.

Results of the Internal Investigation

The investigation is being conducted by an ad hoc committee of independent
directors (the “Ad Hoc Committee”) of the Board of Directors (the “Board”) and
with the assistance of Debevoise & Plimpton LLP as its legal counsel, Cleary
Gottlieb Steen & Hamilton LLP as its independent legal counsel, and Ankura
Consulting Group as its forensic accounting firm.

Based on the results of the investigation to date, the Ad Hoc Committee concluded
that accounting for certain transactions, including sales to one of the Company’s
largest channel partners, was inaccurate and that, among other things, revenue was
prematurely or incorrectly recognized in connection with financial statements
prepared for the periods between the second quarter of 2022 and the second quarter
of 2024 (the “affected periods”). The Company is continuing to evaluate the impact
on internal control over financial reporting and expects to report one or more
additional material weaknesses in internal control over financial reporting related
to this matter.

The Ad Hoc Committee’s previously disclosed estimate that, on a net basis (taking
into account revenue that was prematurely recognized but offset by amounts
appropriately recognized in subsequent periods), the sales transactions at issue have
resulted in premature or incorrect revenue recognition of $4 million to $6 million
through June 30, 2024, has not changed, and it is still the case that the vast majority
of such revenue was prematurely rather than incorrectly recognized and is expected
to be recognized in future periods.

The Ad Hoc Committee confirmed that the errors in revenue recognition did not
impact the Company’s cash position. The Company had cash, cash equivalents,
marketable securities and restricted cash of approximately $56 million as of the




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quarter ended September 30, 2024, which was consistent with the Company’s
internal forecasts. The Company had no debt as of the end of the quarter.

The Ad Hoc Committee’s key findings also include the following:

   •   As previously disclosed, certain sales of products and subscriptions to
       channel partners and end users, including sales to one of its largest
       channel partners, were subject to extra-contractual terms and conditions
       that impacted revenue recognition and other metrics. In addition, the Ad
       Hoc Committee determined that some of these extra-contractual terms and
       conditions were not shared with the Company’s accounting personnel, and
       that certain Company personnel engaged in misconduct in connection with
       those transactions. Furthermore, these extra-contractual terms and
       conditions were withheld from the Audit Committee of the Board and the
       Company’s independent registered public accounting firm,
       PricewaterhouseCoopers LLP (“PWC”).

   •   In addition to the preliminary findings disclosed on October 25, 2024, the
       investigation found that certain accounting personnel were aware of
       indications of those extra-contractual terms and conditions during affected
       periods, and that related allegations were raised internally in July 2024 and
       known to senior finance and accounting personnel, but those allegations
       were not escalated to the Audit Committee of the Board or communicated
       to PWC, prior to the filing of the Company’s second quarter 2024
       financial statements.

The investigation is largely complete, and the Board does not expect these key
findings to change.

Organizational Changes

The Board has determined that new leadership is critical to moving the Company
forward. Mark Donohue, the Company’s Chief Financial Officer and principal
financial officer and principal accounting officer, resigned. To date, as a result of
the investigation, four other employees, including personnel from the Company’s
sales, accounting and finance departments, were terminated or resigned.

Retention of AlixPartners to Provide Interim Support and Expedite
Reporting Process

The Company has engaged AlixPartners LLP (“AlixPartners”), a leading global
business advisory firm, to provide interim finance and accounting support and assist
with and expedite the timely preparation of the Company’s restated financial
statements and related filings.




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       Dave Rawden from AlixPartners, a seasoned financial expert with decades of
       experience serving in senior financial roles, has been appointed as Interim Chief
       Financial Officer.

       Planned Remedial Actions

       The Board and management team intend to take further remedial actions over the
       coming months to enhance risk management, strengthen internal controls and
       ensure timely and accurate financial reporting. In addition, the Board intends to
       take steps to further enhance Board oversight and composition, and promote
       corporate governance and compensation best practices.

       The Board, commenting on the internal investigation, stated:

       We are grateful for the diligent work of the Ad Hoc Committee, the guidance of
       our outside experts, tireless effort from our senior management, continued
       dedication of our employees and patience of our shareholders and other
       stakeholders throughout this process.

       With the investigation concluding, our attention has turned to addressing the issues
       that led to the misconduct, ensuring that future financial disclosures are timely and
       accurate, releasing our financial results for the third quarter of 2024 and preparing
       restated financials for the affected periods. We are committed to pursuing remedial
       actions that we believe will enhance the reliability of our financial statements and
       help prevent these issues from occurring in the future.

       We are confident that Evolv is well positioned to continue its important work and
       to achieve its strategic objectives. The Board embraces the Company’s mission of
       making the world safer and will continue to take steps to advance our vision while
       delivering long-term value for all stakeholders.

       50.     In a Form 8-K filed on November 21, 2024, the Company noted that Defendant

Donohue would not receive severance payments or benefits in connection with his resignation.

       C.      Defendants’ Misconduct Has and Continues to Harm the Company

       51.     As a direct and proximate result of the Defendants’ conduct, the Company has been

harmed and will continue to be. The harm includes, but is not limited to, the costs already incurred

and to be incurred defending the Company in the securities class actions Raby v. Evolv

Technologies Holdings, Inc. f/k/a NewHold Investment Corp., et al. Case No. 1:24-cv-10761-ADB

(D.Mass.) and Buchan v. Evolv Technologies Holdings, Inc., et al., Case No. 1:24-cv-12768 (D.



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Mass.), as well as the costs of conducting the internal investigation into the improper revenue

recognition, and the remedial actions the Company has and will continue to make to ensure the

misconduct does not recur.

          52.   Evolv’s reputation and goodwill have also been damaged by the Defendants’

misconduct. The Company self-reported the improper conduct to the SEC, which is now

investigating the matter, and on November 1, 2024, the U.S. Attorney’s Office of the Southern

District of New York issued a document request for its own investigation.

          D.    Evolv Issues False and Misleading Proxy Statements

          53.   In addition to the false and misleading statements discussed above, the Director

Defendants also caused the Company to issue false and misleading proxy statements during the

Relevant Period, including the Schedule 14A Proxy Statements issued on April 13, 2023 (the

“2023 Proxy”) and April 15, 2024 (the “2024 Proxy” and, with the 2023 Proxy, the “Proxies”),

that sought stockholder votes to, among other things, re-elect the Director Defendants to serve on

the Board.

          54.   The Director Defendants drafted, approved, reviewed, and/or signed the Proxies

before they were filed with the SEC and disseminated to Evolv’s stockholders. The Director

Defendants negligently issued materially misleading statements in the Proxies. These allegations

are based solely on negligence, they are not based on any allegations of recklessness or knowing

conduct by or on behalf of the Director Defendants and they do not allege or do not sound in fraud.

Plaintiff specifically disclaims any allegations of reliance upon any allegation of, or reference or

any allegation of fraud, scienter, or recklessness with regard to the Proxies allegations and related

claims.




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       55.    In support of re-electing themselves, the Director Defendants highlighted their

supposed oversight of the Company in the 2023 Proxy. The 2023 Proxy stated:

       Board Leadership Structure and Role in Risk Oversight

       Our Amended and Restated Bylaws and Corporate Governance Guidelines provide
       our Board of Directors with flexibility to combine or separate the positions of
       Chairman of the Board and Chief Executive Officer in accordance with its
       determination that utilizing one or the other structure would be in the best interests
       of our Company. We currently have an independent Chairman of the Board and a
       majority of our Board is comprised of independent directors. Our Board believes
       that separation of the positions of Chairman and Chief Executive Officer reinforces
       the independence of the Board from management, creates an environment that
       encourages objective oversight of management’s performance and enhances the
       effectiveness of the Board as a whole. In addition, the Board of Directors believes
       the independent Chairman is well-positioned to act as a bridge between
       management and the Board of Directors, facilitating the regular flow of
       information. Among other duties, the independent Chairman may represent the
       Board of Directors in communications with stockholders and other stakeholders
       and provide input on the structure and composition of the Board. For these reasons,
       our Board of Directors has concluded that our current leadership structure is
       appropriate at this time.

       However, our Board of Directors will continue to periodically review our
       leadership structure and may make such changes in the future as it deems
       appropriate. If, in the future, the Chairman of the Board is a member of management
       or does not otherwise qualify as independent, our Corporate Governance Guidelines
       provide for the appointment by the independent directors of a Lead Director. The
       Lead Director’s responsibilities would include, but would not be limited to,
       presiding over all meetings of the Board of Directors at which the Chairman of the
       Board is not present, including any executive sessions of the independent directors,
       approving the Board’s meeting schedules and agendas, and acting as liaison
       between the independent directors of the Board and the Chief Executive Officer
       and the Chairman of the Board.

       Risk assessment and oversight are an integral part of our governance and
       management processes. Our Board of Directors encourages management to
       promote a culture that incorporates risk management into our corporate strategy
       and day-to-day business operations. Management discusses strategic and
       operational risks at regular management meetings and conducts specific strategic
       planning and review sessions during the year that include a focused discussion and
       analysis of the risks facing us. Throughout the year, senior management reviews
       these risks with the Board of Directors at regular Board meetings as part of
       management presentations that focus on particular business functions, operations
       or strategies, and presents the steps taken by management to mitigate or eliminate



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       such risks. The Board reviews material risks facing the Company with the Audit
       Committee, senior management, and outside advisors on a regular basis. Our Board
       of Directors does not have a standing risk management committee, but rather
       administers this oversight function directly through the Board of Directors as a
       whole, as well as through various standing committees of the Board of Directors
       that address risks inherent in their respective areas of oversight. The Board of
       Directors regularly reviews information regarding the Company’s credit, liquidity
       and operations, as well as the risks associated with each. Our Audit Committee is
       responsible for discussing the Company’s policies with respect to risk assessment
       and risk management, including guidelines and policies to govern the process by
       which the Company’s exposure to risk is handled. Our Audit Committee is also
       responsible for overseeing our major financial and cybersecurity risk exposures and
       the steps our management has taken to monitor and control these exposures.
       manages the risk associated with the independence of the Board of Directors and
       potential conflicts of interest and oversees the Company’s efforts with regard to
       environmental, social and governance matters and associated risks . Our
       Compensation Committee oversees the management of risk relating to the
       Company’s incentive compensation and equity-based plans and arrangements. Our
       Technology Sub-Committee monitors the risks relating to proposed transactions
       involving target candidates and our technology portfolio. Our Investment
       Committee oversees financial risk management, including cash management,
       liquidity, and investment strategy. The Board does not believe that its role in the
       oversight of our risks affects the Board’s leadership structure.

       In addition to the committees of the Board, a management-led disclosure committee
       meets quarterly to identify any significant emerging risks and to align such risk
       identification and assessment with the Company’s existing disclosure controls and
       procedures. The disclosure committee then reports its findings and
       recommendations to the Audit Committee, which then reports to the Board.

       56.    In support of re-electing themselves, the Director Defendants highlighted their

supposed oversight of the Company in the 2024 Proxy. The 2024 Proxy stated:

       Board Leadership Structure and Role in Risk Oversight

       Our Amended and Restated Bylaws and Corporate Governance Guidelines provide
       our Board of Directors with flexibility to combine or separate the positions of
       Chairman of the Board and Chief Executive Officer in accordance with its
       determination that utilizing one or the other structure would be in the best interests
       of our Company. We currently have an independent Chairman of the Board and a
       majority of our Board is comprised of independent directors. Our Board believes
       that separation of the positions of Chairman and Chief Executive Officer reinforces
       the independence of the Board from management, creates an environment that
       encourages objective oversight of management’s performance and enhances the
       effectiveness of the Board as a whole. In addition, the Board of Directors believes



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the independent Chairman is well-positioned to act as a bridge between
management and the Board of Directors, facilitating the regular flow of
information. Among other duties, the independent Chairman may represent the
Board of Directors in communications with stockholders and other stakeholders
and provide input on the structure and composition of the Board. For these reasons,
our Board of Directors has concluded that our current leadership structure is
appropriate at this time.

However, our Board of Directors will continue to periodically review our
leadership structure and may make such changes in the future as it deems
appropriate. If, in the future, the Chairman of the Board is a member of management
or does not otherwise qualify as independent, our Corporate Governance Guidelines
provide for the appointment by the independent directors of a Lead Director. The
Lead Director’s responsibilities would include, but would not be limited to,
presiding over all meetings of the Board of Directors at which the Chairman of the
Board is not present, including any executive sessions of the independent directors,
approving the Board’s meeting schedules and agendas, and acting as liaison
between the independent directors of the Board and the Chief Executive Officer
and the Chairman of the Board.

Risk assessment and oversight are an integral part of our governance and
management processes. Our Board of Directors encourages management to
promote a culture that incorporates risk management into our corporate strategy
and day-to-day business operations. Management discusses strategic and
operational risks at regular management meetings and conducts specific strategic
planning and review sessions during the year that include a focused discussion and
analysis of the risks facing us. Throughout the year, senior management reviews
these risks with the Board of Directors at regular Board meetings as part of
management presentations that focus on particular business functions, operations
or strategies, and presents the steps taken by management to mitigate or eliminate
such risks. The Board reviews material risks facing the Company with the Audit
Committee, senior management, and outside advisors on a regular basis. Our Board
of Directors does not have a standing risk management committee, but rather
administers this oversight function directly through the Board of Directors as a
whole, as well as through various standing committees of the Board of Directors
that address risks inherent in their respective areas of oversight. The Board of
Directors regularly reviews information regarding the Company’s credit, liquidity
and operations, as well as the risks associated with each. Our Audit Committee is
responsible for discussing the Company’s policies with respect to risk assessment
and risk management, including guidelines and policies to govern the process by
which the Company’s exposure to risk is handled. Our Audit Committee is also
responsible for overseeing our major financial and cybersecurity risk exposures and
the steps our management has taken to monitor and control these exposures.
manages the risk associated with the independence of the Board of Directors and
potential conflicts of interest and oversees the Company’s efforts with regard to
environmental, social and governance matters and associated risks. Our



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       Compensation Committee oversees the management of risk relating to the
       Company’s incentive compensation and equity-based plans and arrangements. Our
       Technology Committee monitors the risks relating to proposed transactions
       involving target candidates and our technology portfolio. Our Investment
       Committee oversees financial risk management, including cash management,
       liquidity, and investment strategy. The Board does not believe that its role in the
       oversight of our risks affects the Board’s leadership structure.

       In addition to the committees of the Board, a management-led disclosure committee
       meets quarterly to identify any significant emerging risks and to align such risk
       identification and assessment with the Company’s existing disclosure controls and
       procedures. The disclosure committee then reports its findings and
       recommendations to the Audit Committee, which then reports to the Board.

       57.      The Proxies thus assured stockholders that the Director Defendants understood

Company-wide risks, actively oversaw the Company’s risks and exposures, as well as steps taken

to monitor and mitigate risk exposures. In reality, the Director Defendants were utterly failing in

their oversight duties by allowing the Company to operate with inadequate internal controls which

resulted in the failure to disclose or prevent the Defendants from causing the Company to make

materially false and misleading statements concerning revenue recognition. In addition, the

Director Defendants failed to ensure that employees and executives informed the Audit Committee

or the Company’s external auditor of misconduct related to sales and contracts.

       58.     As a result of these misleading statements, the Company’s stockholders voted via

an uninformed stockholder vote to re-elect the Director Defendants to the Board.

       E.      The Board Breached its Fiduciary Duties

       59.     As officers and/or directors of Evolv, the Defendants owed Evolv fiduciary duties

of good faith, loyalty, and candor, and were and are required to use their utmost ability to control

and manage Evolv in a fair, just, honest and equitable manner. The conduct of the Director

Defendants involves a knowing or reckless violation of their obligations as directors and officers

of Evolv, the absence of good faith on their part, and a reckless disregard for their duties to the




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Company that Director Defendants were aware or should have been aware posed a risk of serious

injury to the Company.

       60.    Defendants, because of their positions of control and authority as directors and/or

officers of Evolv, were able to and did exercise control over the wrongful acts complained of

herein. As officers and/or directors of a publicly traded company, the Defendants had a duty to

prevent the dissemination of inaccurate and untruthful information regarding Evolv’s financial

condition, performance, growth, operations, financial statements, business, management, earnings,

internal controls, and business prospects, so as to ensure that the market price of the Company’s

common stock would be based upon truthful and accurate information.

       61.    To discharge their duties, the officers and directors of Evolv were required to

exercise reasonable and prudent supervision over the management, policies, practices and controls

of the Company. By virtue of such duties, the officers and directors and Evolv were required to,

among other things:

              (a)     Ensure that the Company complied with its legal obligations and

              requirements, including acting only within the scope of its legal authority and

              disseminating truthful and accurate statements to the SEC and the Company’s

              stockholders;

              (b)     Conduct the affairs of the Company in a lawful, efficient, business-like

              manner to provide the highest quality performance of its business, to avoid wasting

              the Company’s assets, and to maximize the value of the Company’s stock;

              (c)     Refrain from unduly benefiting themselves and other Company insiders at

              the expense of the Company;




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               (d)     Oversee public statements made by the Company’s officers and employees

               as to the financial condition of the Company at any given time, including ensuring

               that any statements about the Company’s financial results and prospects are

               accurate, and ensuring that the Company maintained an adequate system of

               financial controls such that the Company’s financial reporting would be true and

               accurate at all times;

               (e)     Remain informed as to how the Company conducted its operations, and,

               upon receipt of notice or information of imprudent or unsound conditions or

               practices, make reasonable inquiry in connection therewith, and take steps to

               correct such conditions or practices and make such disclosures as necessary to

               comply with federal and state securities laws;

               (f)     Maintain and implement an adequate and functioning system of internal

               controls to ensure that the Company complied with all applicable laws, rules, and

               regulations; and

               (g)     Ensure that the Company is operated in a diligent, honest, and prudent

               manner in compliance with all applicable federal, state, and local laws, rules and

               regulations.

       62.     The conduct of the Defendants complained of herein involves a knowing and

culpable violation of their obligations as officers and directors of the Company, the absence of

good faith on their part, or a reckless disregard for their duties to the Company and its stockholders,

which the Defendants were aware, or should have been aware, posed a risk of serious injury to the

Company.




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       63.        The Board’s Audit Committee is tasked with overseeing Evolv’s financial reporting

system and assisting the Board with its oversight of the adequacy and effectiveness of Evolv’s

internal controls over financial reporting and its disclosure controls and procedures. Specifically,

according to the Audit Committee’s charter, the Audit Committee’s responsibilities include:

              •     Form 10-K Review. The Committee must review and discuss with management
                    and the independent auditor the annual audited financial statements and related
                    disclosures included in each Annual Report on Form 10-K to be filed by the
                    Company, including the Company’s disclosures under “Management’s
                    Discussion and Analysis of Financial Condition and Results of Operations” for
                    inclusion in the Company’s Annual Report on Form 10-K.

              •     Form 10-Q Review. The Committee must review and discuss the quarterly
                    financial statements with management and the independent auditor, including the
                    Company’s disclosures under “Management’s Discussion and Analysis of
                    Financial Condition and Results of Operations” for inclusion in the Company’s
                    Quarterly Report on Form 10-Q

              •     Review of Internal Control Over Financial Reporting. The Committee must
                    review and discuss with management and the independent auditor the adequacy
                    of the Company’s internal control over financial reporting (“ICFR”), the
                    adequacy of the Company’s disclosures about changes in ICFR and any steps
                    management has taken to address material deficiencies in ICFR. The Committee
                    must review and discuss with management and the independent auditor
                    management’s report on ICFR and the independent auditor’s attestation report
                    on the Company’s ICFR for purposes of the Company’s Annual Report on Form
                    10-K, to the extent such reports are required.

       64.        In violation of the Audit Committee Charter, and their general duties as members

of the Audit Committee, Defendants Sheehy, Mounts Gonzales and Saintil conducted little, if any,

oversight of the Company’s internal controls over financial reporting, resulting in materially false

and misleading statements regarding the Company’s business and consciously disregarded their

duties to monitor such controls. The Audit Committee’s complete failure to perform their duties

in good faith resulted in misrepresentations to the public and the Company’s stockholders.

       65.        In addition, as officers and directors of a publicly-traded company whose common

stock was registered with the SEC pursuant to the Exchange Act, the Defendants had a duty not to



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effect the dissemination of inaccurate and untruthful information with respect to the Company’s

financial condition, performance, growth, operations, financial statements, business, products,

management, earnings, internal controls, and present and future business prospects, so that the

market price of the Company’s common stock would be based upon truthful and accurate

information. Accordingly, the Defendants breached their fiduciary duties by knowingly or

recklessly causing the Company to make false and misleading statements of material fact about

the Company’s maintaining adequate internal controls and compliance with applicable rules and

regulations.

       66.     Moreover, the Defendants had a duty to ensure that adequate internal controls were

in place to prevent the misconduct concerning extra-contractual terms and conditions and how

revenue was recognized in the Company’s financial statements.

       67.     The Defendants’ flagrant violations of their fiduciary duties and unwillingness to

heed the requirements of their Audit Committee Charter have inflicted, and will continue to inflict,

significant harm on Evolv.

                                DERIVATIVE ALLEGATIONS

       68.     Plaintiff brings this action derivatively in the right and for the benefit of Evolv to

redress injuries suffered by Evolv as a direct result of the Director Defendants’ breaches of

fiduciary duty. Evolv is named as a nominal defendant solely in a derivative capacity. This is not

a collusive action to confer jurisdiction on this Court that it would not otherwise have.

       69.     Plaintiff will adequately and fairly represent the interests of Evolv in enforcing and

prosecuting the Company’s rights.

       70.     Plaintiff was a stockholder of Evolv at the time of the wrongdoing complained of,

has continuously been a stockholder since that time, and is currently a Evolv stockholder.




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                             DEMAND FUTILITY ALLEGATIONS

          71.   Plaintiff repeats, re-alleges, and incorporates by reference each and every

allegations set forth as though fully set forth herein.

          72.   The Evolv Board currently has nine members: Defendants Ellenbogen, Naik,

Charlton, Sheehy, Zuberi, Glat, Mounts Gonzales, Saintil, and Sullivan.

          73.   Plaintiff has not made any demand on Evolv’s current Board to institute this action

against the Director Defendants, as any pre-suit demand would be excused. The Board is incapable

of making an independent and disinterested decision to institute and vigorously prosecute this

action.

          A.    The Director Defendants Lack Independence Because They Face a Substantial
                Likelihood of Liability

          74.   As alleged above, the Director Defendants breached their fiduciary duties by

negligently issuing the materially false and misleading Proxies soliciting the reelection of

themselves to the Board. Accordingly, the Director Defendants face a substantial likelihood of

negligence liability for issuing the Proxies and any demand upon these defendants is therefore

futile.

          75.   The Director Defendants face a substantial likelihood of liability for their individual

misconduct. As alleged above, the Director Defendants breached their fiduciary duties by allowing

the Company to issue the materially false and misleading statements described above. The Director

Defendants had a duty to ensure that the Company’s SEC filings, press releases, and other public

statements and presentations concerning its business, operations, prospects, internal controls, and

financial statements were accurate.

          76.   In addition, the Director Defendants owed a duty to, in good faith and with due

diligence, exercise reasonable inquiry, oversight, and supervision to ensure that the Company’s



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internal controls were sufficiently robust and effective (and/or were being implemented

effectively), and to ensure that the Board’s duties were being discharged in good faith and with the

required diligence and due care. Instead, the Director Defendants knowingly and/or with reckless

disregard reviewed, authorized, and/or caused the publication of the materially false and

misleading statements discussed above that caused the Company’s stock to trade at artificially

inflated prices and misrepresented the financial health of Evolv.

       77.     The Director Defendants’ making or authorization of these false and misleading

statements, failure to timely correct such statements, failure to take necessary and appropriate steps

to ensure that the Company’s internal controls were sufficiently robust and effective (and/or were

being implemented effectively), and failure to take necessary and appropriate steps to ensure that

the Board’s duties were being discharged in good faith and with the required due diligence

constitute breaches of fiduciary duties that have resulted in the Director Defendants facing a

substantial likelihood of liability. If the Director Defendants were to bring a suit on behalf of Evolv

to recover damages sustained as a result of this misconduct, they would expose themselves and

their colleagues to significant liability. For this reason, demand is futile as to the Director

Defendants.

       B.      Defendant Ellenbogen is not Independent

       78.     Defendant Ellenbogen co-founded Evolv and served as CEO from the Company’s

founding until January 2020, when he began serving as Chief Innovation Officer. Defendant

Ellenbogen currently serves as Interim President and CEO, making him an executive officer of

and currently employed by Evolv. In addition, Evolv stated in the 2024 Proxy that Defendant

Ellenbogen is not independent pursuant to SEC and Nasdaq rules.




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          C.    Defendants Sheehy, Mounts Gonzales and Saintil are not Disinterested
                Because They Were Members of the Committee Responsible for Overseeing
                Financial Reporting

          79.   The Audit Committee oversees the accounting and financial reporting processes of

the Company and the audits of the Company’s financial statements. One of the Audit Committee’s

responsibilities is to review and discuss with Evolv’s management and the independent auditor the

financial statements and disclosures made in the Forms 10-K and Forms 10-Q filed with the SEC.

The Audit Committee was thus responsible for reviewing and approving Evolv’s Forms 10-Q and

10-K filed between August 18, 2022, and October 25, 2024. Defendants Sheehy, Mounts Gonzales

and Saintil were members of the Audit Committee during the relevant time period and were thus

responsible for knowingly or recklessly allowing the improper statements related to the

Company’s earnings guidance and financial and disclosure controls. Through their knowledge or

reckless disregard, Defendants Sheehy, Mounts Gonzales and Saintil caused improper statements

by the Company. Accordingly, Defendants Sheehy, Mounts Gonzales and Saintil breached their

fiduciary duty of loyalty and good faith because they participated in the misconduct described

above. They face a substantial likelihood of liability for these breaches, making any demand on

them futile.

          80.   Based on the facts alleged herein, there is a substantial likelihood that Plaintiff will

be able to prove that these individuals breached their fiduciary duties by condoning the misconduct

and failing to take meaningful action to remedy the resultant harm.

                                      CLAIMS FOR RELIEF

                                          COUNT I
                                   Breach of Fiduciary Duty
                        (Derivatively Against The Director Defendants)

          81.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.


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          82.   Each of the Defendants owed and owes Evolv the highest obligations of loyalty,

good faith, due care, and oversight.

          83.   Each of the Defendants violated and breached their fiduciary duties of loyalty, good

faith, candor and oversight to the Company.

          84.   The Director Defendants’ conduct set forth herein was due to their intentional or

reckless breach of the fiduciary duties they owed to the Company. In breach of their fiduciary

duties, the Director Defendants failed to maintain an adequate system of oversight, disclosure

controls and procedures, and internal controls.

          85.   In addition, the Director Defendants further breached their fiduciary duties owed to

Evolv by willfully or recklessly making and/or causing the Company to make false and misleading

statements and omissions of material fact and allowing the Company to operate with inadequate

internal controls which resulted in the misrepresentations and misleading financial statements that

wrongly accounted for revenue recognition. The Director Defendants failed to ensure that adequate

internal controls were in place to ensure that the extra-contractual terms and conditions were

provided to the Company’s accounting personnel and external auditor, as well as the Audit

Committee. The Director Defendants failed to correct and cause the Company to fail to rectify any

of the wrongs described herein or correct the false and misleading statements and omissions of

material fact, exposing them to personal liability to the Company for breaching their fiduciary

duties.

          86.   The Director Defendants had actual or constructive knowledge that they had caused

the Company to improperly engage in the wrongdoing set forth herein and to fail to maintain

adequate internal controls. The Director Defendants had actual knowledge that the Company was

engaging in the wrongdoing set forth herein, and that internal controls were not adequately




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maintained, or acted with reckless disregard for the truth, in that they caused the Company to

improperly engage in the wrongdoing and to fail to maintain adequate internal controls, even

though such facts were available to them. Such improper conduct was committed knowingly or

recklessly and for the purpose and effect of artificially inflating the price of the Company’s

securities. The Director Defendants, in good faith, should have taken appropriate action to correct

the schemes alleged herein and to prevent them from continuing to occur.

          87.   As a direct and proximate result of the breaches of duty alleged herein, Evolv has

sustained and will sustain significant damages.

          88.   As a result of the misconduct alleged herein, these Defendants are liable to the

Company.

          89.   Plaintiff, on behalf of Evolv, has no adequate remedy at law.

                                          COUNT II
                                   Breach of Fiduciary Duty
                         (Derivatively Against the Officer Defendants)

          90.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          91.   The Officer Defendants are executive officers of the Company. As executive

officers, the Officer Defendants owed and owe Evolv the highest obligations of loyalty, good faith,

due care, oversight, and candor.

          92.   The Officer Defendants breached their fiduciary duties owed to Evolv by willfully

or recklessly making and/or causing the Company to make false and misleading statements and

omissions of material fact, and misleading financial statements that wrongly accounted for revenue

recognition. The Officer Defendants failed to ensure that adequate internal controls were in place

to ensure that the extra-contractual terms and conditions were provided to the Company’s

accounting personnel and external auditor, as well as the Audit Committee. The Officer


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Defendants failed to correct and cause the Company to fail to rectify any of the wrongs described

herein or correct the false and misleading statements and omissions of material fact.

          93.   As a direct and proximate result of the breaches of duty alleged herein, Evolv has

sustained and will sustain significant damages.

          94.   As a result of the misconduct alleged herein, the Officer Defendants are liable to

the Company.

          95.   Plaintiff, on behalf of Evolv, has no adequate remedy at law.

                                           COUNT III
                         Violation of Section 14(a) of the Exchange Act
                              (Against The Director Defendants)

          96.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          97.   The section 14(a) Exchange Act claims alleged herein are based solely on

negligence. They are not based on any allegation of reckless or knowing conduct by or on behalf

of the Director Defendants. The section 14(a) Exchange Act claims detailed herein do not allege

and do not sound in fraud. Plaintiff specifically disclaims any allegation of, reliance upon any

allegation of, or reference to any allegation of fraud, scienter, or recklessness with regard to the

nonfraud claims.

          98.   The Director Defendants negligently issued, caused to be issued, and participated

in the issuance of materially misleading written statements to stockholders which were contained

in the Proxies. In the Proxies, the Board solicited stockholder votes to reelect the Director

Defendants to the Board.

          99.   The Proxies, however, misrepresented and failed to disclose the Board’s risk

oversight and the Company’s inadequate internal controls, which facilitated the illegal behavior

described herein. By reasons of the conduct alleged herein, the Director Defendants violated


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section 14(a) of the Exchange Act. As a direct and proximate result of these defendants’ wrongful

conduct, Evolv misled and deceived its stockholders by making materially misleading statements

that were essential links in stockholders following the Company’s recommendation and voting to

reelect the Director Defendants.

       100.      Plaintiff, on behalf of Evolv, thereby seeks relief for damages inflicted upon the

Company based upon the misleading Proxies in connection with the improper reelection of the

Director Defendants to the Board.

                                     RELIEF REQUESTED

            WHEREFORE, Plaintiff demands judgment as follows:

            A.       Declaring that Plaintiff may maintain this derivative action on behalf of Evolv

and that Plaintiff is a proper and adequate representative of the Company;

            B.        Against all of the Defendants and in favor of Evolv for the amount of damages

sustained by the Company as a result of the acts and transactions complained of herein;

            C.        Granting appropriate equitable relief to remedy the Defendants’ breaches of

fiduciary duties, including, but not limited to the institution of appropriate corporate governance

measures;

            D.       Awarding Evolv restitution from Defendants, and each of them, and ordering

disgorgement of all profits, benefits and other compensation obtained by Defendants;

            E.        Awarding Plaintiff the costs and disbursements of this action, including

reasonable attorneys’ and expert fees and expenses; and

            F.        Granting such other and further equitable relief as this Court may deem just

and proper.




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                               JURY DEMAND

      Plaintiff hereby demands a trial by jury.



Date: November 27, 2024                     Respectfully Submitted


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